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                         Exhibit 2
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                                                                                       Page 1

 1                    UNITED STATES DISTRICT COURT
 2                   FOR THE DISTRICT OF NEW JERSEY
 3                           CAMDEN VICINAGE
 4            * * * * * * * * * * * * * * *
 5           In Re: Valsartan, Losartan, and Irbesartan
             Products Liability Litigation
 6
                *    *    *    *    *    *    *    *    *    *     *    *    *    *     *
 7
             This Document Relates to:
 8
                    Roberts, et al., v. Zhejiang Huahai
 9                  Pharmaceutical Co., Ltd., et al.
10                       Case No: 1:20-cv-00946-RBK-JS
11
               *    *    *    *    *    *    *    *    *    *    *     *    *    *     *
12
13
14       REMOTE VIDEOTAPED DEPOSITION OF ANDREW THOMPSON, PhD
15
                                   May 9, 2025
16                            9:43 a.m. to 3:58 p.m.
17                         REPORTED BY ANITA KORNBURGER
                         REGISTERED PROFESSIONAL REPORTER
18
19
20
               *    *    *    *    *    *    *    *    *    *    *     *    *    *     *
21
22
23
24
25

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                                                                      Page 2                                                     Page 4
    1             APPEARANCES
    2 MAZIE SLATER KATZ & FREEMAN, LLC, by
                                                                                1           TRANSCRIPT OF PROCEEDINGS
      Mr. Adam M. Slater                                                        2        THE VIDEOGRAPHER: Good morning. We are
    3 Mr. Christopher Geddis
      103 Eisenhower Parkway, 2nd Floor
                                                                                3 now on the record. My name is Phillip Todd. I'm a
    4 Roseland, NJ 07068                                                        4 videographer for Golkow, a Veritext division.
      973-228-9898
    5 aslater@mazieslater.com
                                                                                5           Today's date is May 9, 2025, and
      Appearing by videoconference on behalf of the                             6 the time is 9:43 a.m. Eastern.
    6 Plaintiffs.
    7 KIRKLAND ELLIS, by
                                                                                7           This remote video deposition is
      Ms. Nina Rose                                                             8 being held in the matter of Valsartan, Losartan,
    8 1301 Pennsylvania Avenue, N.W.
      Washington, D.C. 20004                                                    9 and Irbesartan Products Liability Litigation
    9 nina.rose@kirkland.com                                                   10 related to the case Gaston Roberts, et al., vs
      Appearing by videoconference on behalf of the
   10 Defendants.                                                              11 Zhejiang Huahai Pharmaceutical Company, et al., in
   11 GREENBERG TRAURIG, by                                                    12 the United States District Court for the District
      Mr. Steven Harkins
   12 3333 Piedmont Road NE, Suite 2500                                        13 of New Jersey, Camden Vicinage, MDL number 2875.
      Atlanta, GA 30305                                                        14           The deponent is Dr. Andrew
   13 harkinss@gtlaw.com
      Appearing by videoconference on behalf of the                            15 Thompson.
   14 Defendants.                                                              16           All parties to this deposition are
   15
   16                 INDEX                                                    17 appearing remotely and have agreed to the witness
   17                                                                          18 being sworn in remotely. Due to the nature of
      Examination by                            Page
   18                                                                          19 remote reporting, please pause briefly before
      Mr. Slater. . . . . . . . . . . . . . . 5                                20 speaking to ensure all parties are heard
   19 Ms. Rose. . . . . . . . . . . . . . . .167
      Mr. Slater. . . . . . . . . . . . . . .172                               21 completely.
   20                                                                          22           Counsel will be noted on the
   21
   22                                                                          23 stenographic record.
   23                                                                          24           The court reporter is Anita
   24
   25                                                                          25 Kornburger, and will now swear in the witness.
                                                                      Page 3                                                     Page 5
    1              EXHIBITS                                                     1         ANDREW THOMPSON, MD, called as a
    2                           Page
        Exhibit No. Description                    Identified                   2 witness herein, having been first duly sworn on
    3                                                                           3 oath, was examined and testified as follows:
          1    Notice. . . . . . . . . . . . . . . .9
    4                                                                           4           EXAMINATION
          2    Response to notice. . . . . . . . . 12                           5 BY MR. SLATER:
    5
          3    Invoice. . . . . . . . . . . . . . .25
                                                                                6    Q. Morning, Dr. Thompson.
    6                                                                           7    A. Good morning.
          4    Report. . . . . . . . . . . . . . . 40
    7
                                                                                8    Q. My name's Adam Slater. You understand
          5    Warning letter. . . . . . . . . . . 70                           9 you're here for your deposition?
    8                                                                          10    A. Do I understand what? I didn't catch
          6    E-mail, ZHP00190573. . . . . . . . 112
    9                                                                          11 that.
          7    Most recent CV. . . . . . . . . . .150                          12    Q. Do you understand you're here for your
   10
          8    Amended materials reviewed list. . 151                          13 deposition?
   11                                                                          14    A. Yes.
        9     English translation of standard. . 153
   12
                                                                               15    Q. Have you ever had your deposition taken
   13 (Original exhibits attached to original transcript.                      16 before?
            Copies provided to all counsel.)                                   17    A. I have.
   14
   15                                                                          18    Q. How many times?
   16                                                                          19    A. Two times.
   17
   18                                                                          20    Q. What were those in connection with?
   19                                                                          21    A. They were in connection with a patent
   20
   21
                                                                               22 case. There was two different generic companies
   22                                                                          23 that were trying to break a Merck patent four years
   23
   24
                                                                               24 before the expiration date, and since I was named
   25                                                                          25 on the patent, I was one of the people that the

                                                                                                                      2 (Pages 2 - 5)
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                                                    Page 6                                                      Page 8
    1 generics wanted to depose to see what I knew.           1     Q. And do you understand that even though
    2     Q. When were those depositions taken,               2 this is an informal proceeding over Zoom, that this
    3 roughly?                                                3 is of the same force and effect and the same
    4     A. 2014, about.                                     4 gravity as if you were testifying right now sitting
    5     Q. Were you represented by counsel?                 5 in a federal courtroom in the witness chair in
    6     A. So Merck had counsel that they hired, and        6 front of a judge and a jury?
    7 they were my counsel. So I was represented by           7     A. Yes.
    8 Merck's counsel. I did not hire separate counsel.       8     Q. Did you prepare for this deposition?
    9     Q. Who was that law firm?                           9     A. Yes.
   10     A. I don't remember. I'd have to look it           10     Q. What did you do to prepare?
   11 up. Shawn-something. I don't know.                     11     A. I worked with counsel.
   12     Q. Do you have the transcripts from those          12     Q. Tell me what you did with counsel.
   13 depositions?                                           13     A. So we -- they told me the kind of
   14     A. No, I do not.                                   14 questions I would get and just prepared me, like,
   15     Q. Did you ever read them?                         15 emotionally to, you know, to deal with the -- the
   16     A. No.                                             16 kind of back and forth that was going to take place
   17     Q. They were never provided to you?                17 in the deposition.
   18     A. I didn't ask for them. I actually don't         18     Q. For how long did you have that discussion
   19 remember what the deposition transcripts were. I       19 over those subjects?
   20 don't have them, and I don't remember asking for       20     A. I'm going to guess now. Five hours.
   21 them.                                                  21     Q. Did you prepare yourself substantively in
   22     Q. You understand you're under oath and must       22 terms of preparing by reviewing documents or
   23 tell the truth in response to all of my questions      23 testimony?
   24 today?                                                 24     A. Yes, I reviewed the documents.
   25     A. Yes.                                            25     Q. Okay. For how long did you review
                                                    Page 7                                                      Page 9
    1     Q. If I ask a question that doesn't make            1 documents to prepare for this deposition?
    2 sense to you for any reason, just tell me, okay?        2     A. So from the very beginning when I started
    3     A. Okay.                                            3 working on the case, or after I wrote my report?
    4     Q. The goal here is to get truthful and             4     Q. Yeah, I'm talking about -- rephrase. I'm
    5 complete answers to every question. Do you              5 asking about the preparation for the deposition
    6 understand that?                                        6 itself. We'll talk about the time you spent
    7     A. Yes.                                             7 writing the report separately.
    8     Q. Therefore, if you can't understand a             8     A. So I probably spent 30 hours reading
    9 question or don't feel like you can answer it           9 reports, rereading reports. You know, I had a
   10 truthfully and completely, just tell me. Tell me       10 question in my mind about what I actually said, so
   11 what's unclear, we'll talk about it, and I'll try      11 I would go back and look at the report, things like
   12 to ask a question that you feel you can answer         12 that.
   13 truthfully and completely, okay?                       13     Q. Let's mark as Exhibit 1 and put up the
   14     A. Okay.                                           14 deposition notice, please. Actually, let's not put
   15     Q. During the course of the deposition your        15 that up as Exhibit 1. Let's put up the defendant's
   16 lawyer or other lawyers potentially may object.        16 response to the document request contained in the
   17 That's routine in a deposition. Lawyers object.        17 deposition notice. Actually, let me stop again.
   18 They're preserving their rights to the future in       18         MR. SLATER: You have the deposition
   19 terms of how this deposition testimony may be used.    19 notice, right, Chris?
   20 There's nothing improper about it.                     20         MR. GEDDIS: Yep.
   21          Just please allow the objection to be         21         MR. SLATER: All right. As Exhibit 1,
   22 made. And I would assume, in all or almost all         22 let's put up the deposition notice.
   23 cases, you'll be told to go ahead and answer the       23         THE WITNESS: This is where I go to the
   24 question, okay?                                        24 room, that other room?
   25     A. Okay.                                           25         MS. ROSE: Not to the other room. If you

                                                                                                    3 (Pages 6 - 9)
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                                                    Page 10                                                   Page 12
    1 go to the link for Golkow remote that you pulled up  1    A. Yes. So, I mean, it was pretty much
    2 earlier and it says Dr. Andrew Thompson marked       2 boilerplate stuff like my CV, my invoice, and
    3 exhibits --                                          3 everything else. I didn't -- there was -- it
    4        THE WITNESS: Oh, so that's -- so I got        4 didn't apply. So I have -- it was very easy for me
    5 the more button. Which button do I press?            5 to get the information that was being requested
    6        MR. SLATER: You can see it on the screen      6 here.
    7 as well.                                             7    Q. What did you provide to counsel in order
    8        MS. ROSE: Here, Dr. Thompson, if you go       8 to produce to us in response to this deposition
    9 to your -- either your Outlook or your Chrome,       9 notice?
   10 your --                                             10    A. So first thing, copies of all invoice. I
   11        THE WITNESS: Oh, okay. That's where it       11 sent -- I sent that to counsel. And then somewhere
   12 is. Oh, okay.                                       12 in here it's asking for my CV. Yeah, the CV. I
   13        MS. ROSE: It should say Dr. Andrew           13 sent that. And that was all I provided.
   14 Thompson marked exhibits. And you can just hit the 14     Q. Let's go now and mark as Exhibit 2 the
   15 refresh button, and then the document file should   15 response to the deposition notice, please.
   16 show up there.                                      16    A. Okay.
   17        THE WITNESS: All right.                      17    Q. On the screen we have Exhibit 2 titled
   18 BY MR. SLATER:                                      18 Defendant's Response to Plaintiff's Document
   19     Q. Do you see it?                               19 Requests Contained in Notice of Videotaped Oral
   20     A. Should we work off this one that's being     20 Deposition of Dr. Andrew Thompson, PhD. Do you see
   21 shared on the screen?                               21 that?
   22        MS. ROSE: Yeah. You can open -- do you       22    A. Yes, I do.
   23 see Exhibit 1 now in that folder?                   23    Q. Have you seen this document before?
   24        THE WITNESS: Veritext.                       24    A. No, I have not.
   25        MR. SLATER: What I would suggest is          25    Q. Let's go to request number one. Request
                                                    Page 11                                                   Page 13
    1 we're going to put it on the screen. If for any          1 number one asked for all invoices for work
    2 reason I ask a question and you feel that you need       2 performed in connection with any consultation or
    3 to look at the whole document, we can either scroll      3 expert work performed for or on behalf of any
    4 to it or we can look at it if you need to look at        4 defendant or their counsel with regard to any
    5 it. I'm not going to stop you. I would just say          5 issues in this MDL, including but not limited to
    6 wait to see if you need to depending on my               6 for the review of documents, review and
    7 questions.                                               7 consultation with regard to plaintiff experts,
    8        MS. ROSE: I think the doctor would like           8 preparation of Dr. Thompson's report, and
    9 to look at a document that you're introducing as an      9 preparation for deposition or trial.
   10 exhibit. So I just want to make sure he has access      10          Do you see that?
   11 to the folder.                                          11     A. Yes.
   12        THE WITNESS: I do. It worked. I got              12     Q. We were provided one invoice dated May 6,
   13 it.                                                     13 2025. Is that the only responsive invoice that you
   14        MS. ROSE: Okay. You can open Exhibit 1?          14 have?
   15        THE WITNESS: Yes.                                15     A. Yes.
   16        MS. ROSE: Okay.                                  16     Q. Let's go to request three.
   17        THE WITNESS: Yes.                                17     A. Okay.
   18 BY MR. SLATER:                                          18     Q. This requested copies of any notes, i.e.,
   19     Q. Doctor, you see Exhibit 1 in front of you        19 written or electronic reflecting consulting or
   20 titled Notice to Take Videotaped Oral Deposition?       20 litigation work on behalf of any defendant or their
   21     A. I do.                                            21 counsel with regard to any issues in this MDL that
   22     Q. Did you read that deposition notice?             22 has not been documented in invoices. Do you have
   23     A. Yes.                                             23 any such notes?
   24     Q. Okay. Did you make an effort to provide          24     A. No.
   25 the responsive information to the requests?             25     Q. Let's go to request four, copies of any

                                                                                                  4 (Pages 10 - 13)
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                                                    Page 14                                                   Page 16
    1 notes or other documentation, including PowerPoints 1          MR. SLATER: Please don't -- no, we're
    2 for any presentations, seminars or classes given by  2 not going to start with speaking objections, Nina.
    3 Dr. Thompson with regard to the chemical formation 3 It's an easy question. Come on. Please.
    4 of nitrosamines under any circumstances, including   4 BY MR. SLATER:
    5 those formed in ZHP's manufacturing process for      5      Q. You can answer, Doctor.
    6 valsartan API.                                       6      A. Yeah, so everything I relied upon is in
    7          Do you have any such documents              7 my report. But it says like I relied on the
    8 responsive to that request?                          8 testimony of Najafi and references cited therein.
    9    A. Okay, so I just want to read -- I get to       9 So it's either in my report or it's by -- you know,
   10 read the response before I answer?                  10 it's referenced to in the Najafi report which has
   11    Q. Sure.                                         11 it in there. So that's what I mean when I say it's
   12    A. I mean, the answer is no, I don't have        12 all referenced in my report.
   13 anything.                                           13      Q. We'll come back to that.
   14    Q. You've never given such presentations,        14      A. Okay.
   15 seminars or classes?                                15      Q. Where are all the documents, articles and
   16    A. That's -- that's correct.                     16 everything else that you reviewed as part of your
   17    Q. Looking at request five, that asked for       17 preparation of your report? Where are they
   18 any notes or other documentation, including         18 actually located?
   19 PowerPoints or any presentations, seminars or       19      A. They're on a -- they're on a -- on a
   20 classes given by Dr. Thompson with regard to the    20 folder on my computer.
   21 technology and methods used for the identification  21         MR. SLATER: Counsel, I'm going to ask
   22 of nitrosamines under any circumstances, including 22 that that folder be produced in complete form as
   23 those formed in ZHP's manufacturing process for     23 soon as possible.
   24 valsartan API.                                      24         MS. ROSE: As stated in our objection,
   25          Have you ever given such -- any such       25 and as the witness just stated, he reviewed
                                                    Page 15                                                   Page 17
    1 presentations, seminars, or classes?                     1 documents that were provided by Drs. Hecht and
    2     A. No, I have not.                                   2 Najafi which are equally available to plaintiffs.
    3     Q. Go to request six: Copies of any                  3        MR. SLATER: I get that, but that's not
    4 documents or articles relied upon for the opinions       4 the practice in this litigation. We saw what you
    5 set forth in the report served. Do you see that?         5 wrote to us. We have a right to have everything he
    6     A. Yes.                                              6 relied on to be produced to us so we can actually
    7     Q. And do you have such documents or                 7 see what he actually relied on and reviewed as
    8 articles?                                                8 opposed to just telling us it's everything listed.
    9     A. So everything I relied upon was mentioned         9             So we have a right to that. It's
   10 in my report, and it was all from existing              10 been produced for every expert in this litigation.
   11 documentation that Najafi and Hecht that I referred     11 It's what was supposed to be done. It's in one
   12 to.                                                     12 folder in his computer. I don't see any reason
   13     Q. If I want to know what you relied on I           13 why, during a break, that can't be provided to us.
   14 can read your report and see what you refer to?         14        MS. ROSE: I disagree with that
   15     A. So you're asking me what I relied upon?          15 characterization of what's been provided by every
   16     Q. I'm asking if I want to know -- you just         16 expert. We can discuss on a break. I understand
   17 said everything you relied on is mentioned in your      17 your request. No, I understand your request. I'm
   18 report. So I'm just restating that to make sure I       18 taking your request under consideration.
   19 understand.                                             19        MR. SLATER: Okay. I'd like to have that
   20          If I want to know what documents or            20 resolved at the first break, please.
   21 articles or materials you specifically relied on in     21 BY MR. SLATER:
   22 forming your opinions, are they referenced and          22     Q. Looking at request seven, copies of any
   23 explicitly described or named in the report?            23 documents or articles reviewed in connection with
   24        MS. ROSE: Object to the form. I believe          24 the report served, whether listed in the report or
   25 Dr. Thompson talked about --                            25 attachments thereto.

                                                                                                 5 (Pages 14 - 17)
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                                                    Page 18                                                    Page 20
    1          Would all such documents or articles            1     A. Yeah. We did -- yeah. So we only -- I
    2 be found in that folder that you told us about           2 only worked on it up to the laboratory scale,
    3 that's on your computer?                                 3 several kilos, five kilos, and then the project was
    4     A. "Defendants state that they will provide          4 transferred to somebody else. From there they made
    5 additional responses as considered by the expert         5 larger quantities. But since it was somebody else
    6 and" -- yeah, all the documents I relied upon would      6 in a different building, I kind of lost track of
    7 be in that folder, yeah.                                 7 it.
    8     Q. Look at request ten. We requested any             8     Q. Were you responsible for the risk
    9 documentation of any research grant the witness has      9 assessment of that drug, or was that someone else's
   10 been provided to study any angiotensin two receptor     10 responsibility?
   11 blockers, nitrosamines, or the identification of        11     A. That was somebody else's responsibility.
   12 nitrosamines. Do any such research grants exist?        12     Q. From reviewing the materials and your
   13     A. No.                                              13 background, it doesn't appear that you performed
   14     Q. Have you ever done any study of                  14 risk assessment as part of your work; am I correct?
   15 angiotensin two receptor blockers?                      15     A. Not formally, no.
   16     A. So I worked on a -- I worked on one at           16     Q. Have you ever done any research into
   17 Merck. It was a backup to losartan.                     17 nitrosamines?
   18     Q. What was it called?                              18     A. No, I have not.
   19     A. It had an L number. It didn't have -- it         19     Q. Have you ever done any research into the
   20 didn't have a product name. It wasn't that far in       20 identification of nitrosamines?
   21 development. And I don't remember the L number.         21     A. After 2018, when this issue became a big
   22 And I don't have any documentation associated with      22 issue in the pharmaceutical industry, I had to
   23 it because when I left Merck, that was all property     23 learn about nitrosamines -- this is all on paper,
   24 that belonged to Merck. I couldn't take any of          24 right, not in a lab -- but I had to learn about
   25 that with me.                                           25 them, how they form, and methods for their
                                                    Page 19                                                    Page 21
    1     Q. When you say it didn't get far in                 1 detection. I had to become versed in that so I
    2 development, what does that mean?                        2 could talk to my customers about it.
    3     A. I forgot how far it went. Maybe phase             3    Q. You were not familiar with those subjects
    4 two. So it didn't make it to phase three, and it         4 before you learned about the nitrosamines found in
    5 didn't make it to commercial. So only when               5 the valsartan drugs in 2018?
    6 compounds become commercial and they're approved by      6    A. That's correct.
    7 the FDA do they get a name like losartan. Before         7    Q. In your work do you or did you operate
    8 that they will have an L number, L with six digits.      8 gas chromatography?
    9 And if they get to a certain point, they'll have an      9    A. Yes.
   10 MK number with four digits.                             10    Q. In your work do you or did you operate
   11          So the compound I worked on was the L          11 gas chromatography mass spectrometry machines?
   12 number with six digits after it. And that's as far      12    A. Yeah, a little bit. But most -- most of
   13 as the nomenclature got for that particular             13 that work was done by people that reported to me.
   14 compound.                                               14 I had gotten to the point where I wasn't in the lab
   15     Q. When you say you worked on that, what was        15 anymore, and I was a manager. So I wasn't doing
   16 your specific involvement?                              16 hands-on chemistry. I was watching over people
   17     A. So I was involved in preparing the               17 doing it.
   18 material.                                               18    Q. When did that happen that you became a
   19     Q. What does that mean?                             19 manager?
   20     A. So I would -- I would go into a                  20    A. You know, it didn't happen all at once,
   21 laboratory with -- with reactors, put chemicals         21 not like overnight. Gradually I shifted out of the
   22 into the reactors, and do transformations from A to     22 lab. So I probably shifted out by 2025. I wasn't
   23 B to C to D, and come out at the end with a final       23 really doing -- I'm sorry, 2005 I wasn't really
   24 drug candidate, the API.                                24 doing much in the lab after that.
   25     Q. Would that be at the laboratory scale?           25    Q. Do you know how to operate a GCMS

                                                                                                  6 (Pages 18 - 21)
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    1 machine?                                             1 there's really -- there's really nothing other than
    2     A. No. I would have to read instructions on      2 what analytical technique we would use to detect
    3 how to do it at this point.                          3 them.
    4     Q. When's the first time in your life you        4     Q. You said after 2018 with regard to other
    5 ever heard of NDMA?                                  5 drugs you talked about these things. Who with?
    6     A. NDMA?                                         6     A. So I had an analytical group. So there
    7     Q. Yep.                                          7 was a person in charge of the analytical group who
    8     A. So I can't recall exactly, but I would        8 reported to me. And then she had about 25 people
    9 say it was about -- it was from the valsartan        9 under her. And then I had a QA group also, quality
   10 recall that I first heard about it. I did not -- I  10 assurance. I don't think I talked with Mike about
   11 don't think I ever heard of that compound's name    11 it.
   12 prior to the valsartan recall.                      12          But with Leigh we talked about, you
   13     Q. When did you learn of the existence of       13 know, what we were going to do to be able to assay
   14 nitrosamines?                                       14 for nitrosamines, what was -- what was -- what
   15     A. After the valsartan recall.                  15 techniques we were going to do, how we were going
   16     Q. Look at request twelve, copies of any        16 to do this. You know, what was I going to tell
   17 documents, including protocols or information about 17 customers we had in place for it.
   18 the chemical formation of nitrosamines under any    18     Q. That was not something you had considered
   19 circumstances available to the witness from any     19 before that time; correct?
   20 laboratory or academic institution where he has     20     A. I didn't -- no, I never considered any
   21 worked, had an appointment, or had access which set 21 analytical technique to detect nitrosamines prior
   22 forth information related to the chemical formation 22 to 2018.
   23 of nitrosamines under any circumstances and the     23     Q. Did you ever consider the potential
   24 technology and methods used to identify             24 presence of nitrosamines in any drug before 2018
   25 nitrosamines. Do you have any such documents?       25 when you learned of the valsartan issue?
                                                  Page 23                                                 Page 25
    1     A. I do not.                                     1     A. No.
    2     Q. Request 14, please. Any communications        2     Q. Okay. We can put that document down and
    3 from the witness to any person or entity with        3 we can go to Exhibit 3, which is the invoice.
    4 regard to nitrosamine impurities in any angiotensin  4     A. Okay.
    5 two receptor blocker or other drug outside of        5     Q. We marked as Exhibit 3 a document that
    6 communications to counsel who retained the witness. 6 says at the top confidential. It's dated May 6,
    7 Do any such communications exist?                    7 2025. It says, "The following table shows the days
    8     A. No, they do not.                              8 and hours utilized for the valsartan project in
    9     Q. So your only communications with anybody      9 March and April 2025." Do you see that?
   10 in the world about nitrosamine impurities as        10     A. Yes, I do.
   11 described in that request would be in the context   11     Q. Is this an accurate listing of what you
   12 of your communications with counsel; correct?       12 did on each of those days for those amounts of
   13        MS. ROSE: Object to the form. Misstates      13 time?
   14 the witness.                                        14     A. Yes, it is.
   15 BY MR. SLATER:                                      15     Q. Did you have a chance to review this and
   16     Q. Is that true?                                16 make sure it was absolutely correct before today?
   17     A. Yeah. So any nitrosamine impurities in       17     A. Well, I put this thing together, so I
   18 an A2 receptor blocker, yeah, so the only people I  18 didn't have to really review it. But I did have a
   19 discussed that with is counsel.                     19 chance. But I'm the one who put this together, so
   20     Q. This also says any other drug. That          20 I didn't have to review it.
   21 would be true of any drug; correct?                 21     Q. How were you first contacted to become
   22     A. Yeah, any -- so any -- I mean, we talked     22 involved in this litigation?
   23 about -- after 2018 we talked about these things,   23     A. So I received a phone call from -- I
   24 but there was no written communications. I          24 assume he's an attorney -- Paul, asking me, you
   25 wouldn't have access to those e-mails now. And      25 know, if I wanted to consult on a certain issue,

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    1 and I think feeling out my capabilities to decide        1 project.
    2 if I was an adequate fit for the law firm and if I       2    Q. Do you know anybody that, to your
    3 was interested.                                          3 knowledge, has been or is affiliated or works with
    4          So I received that call probably                4 ZHP?
    5 before March 22nd, or maybe that was the first call      5    A. No.
    6 we set up a Zoom call. I can't remember exactly          6    Q. How about their United States entities,
    7 how it started. But I received a call from Paul.         7 Solco, Prinston, or Huahai US?
    8 And he --                                                8    A. No, I do not.
    9     Q. Okay. And that would have taken on or             9    Q. Had you ever heard of ZHP before you were
   10 about March 22, 2025?                                   10 contacted on this case?
   11     A. Yes.                                             11    A. No.
   12     Q. Do you know Paul's last name?                    12    Q. Have you spoken to anybody at ZHP, Solco,
   13     A. Kolter. I don't remember exactly.                13 Prinston, or Huahai US?
   14 Kolter.                                                 14    A. No.
   15     Q. Do you know what law firm he works at?           15    Q. As part of the work that you did in this
   16     A. Kirkland.                                        16 case, did you request any documents from counsel,
   17     Q. Have you ever been retained to consult or        17 or did you just review what was provided to you?
   18 act as an expert witness in any litigation before       18    A. I reviewed what was provided.
   19 this one?                                               19    Q. Did you do any independent research?
   20     A. No. I mean, just -- just the Merck --            20    A. No, there was -- the documents that were
   21 just that Merck patent situation. But...                21 included in the witness testimony were adequate for
   22     Q. That one you had personal involvement            22 me to make my decision to have an opinion.
   23 with 'cause you were on the patent; right?              23        MR. SLATER: Move to strike after no.
   24     A. Right.                                           24        MS. ROSE: Object. Adam, we've been
   25     Q. So other than this litigation where              25 getting strong, strong objections that moving to
                                                    Page 27                                                   Page 29
    1 you've been asked to be an expert witness, have you  1 strike is --
    2 ever consulted or been an expert in any other        2         MR. SLATER: Oh, you're right, Nina. You
    3 litigation where you didn't have personal            3 know what? I forgot. Thank you for calling me. I
    4 involvement?                                         4 was -- I've been doing state court litigation again
    5     A. No.                                           5 and -- where you do move to strike. So I agree.
    6     Q. Do you know how Paul found you, why he        6 I'll withdraw the motion to strike because our
    7 identified you as a potential witness in this case?  7 ability to move to strike testimony is preserved
    8     A. Yes, I do.                                    8 without having to say it. Sorry, I forgot. Thank
    9     Q. How did that happen?                          9 you for reminding me.
   10     A. This is from what Paul told me, but he       10         MS. ROSE: No problem.
   11 had called a friend of mine who's a professor at    11         MR. SLATER: It's hard to teach an old
   12 Vanderbilt -- and I don't know what they            12 dog new tricks.
   13 discussed -- but that friend of mine recommended me 13         THE WITNESS: Tell me about it.
   14 to -- recommended Paul call me.                     14 BY MR. SLATER:
   15     Q. Who's that professor at Vanderbilt?          15      Q. Did you do any independent literature
   16 What's his name?                                    16 search as part of your work in this case?
   17     A. Gary Sarnakowski (phonetic.)                 17      A. No.
   18     Q. How do you know him?                         18      Q. From reading your report -- which we'll
   19     A. I know him from graduate school.             19 come back to -- I'll rephrase.
   20     Q. Are you friends?                             20          From reading your report, it appears
   21     A. Yes, we are.                                 21 that your expertise is in the field of organic
   22     Q. Did you ever work with him?                  22 chemistry; is that correct?
   23     A. No. I mean, he worked in the same group      23      A. Organic synthesis, yes.
   24 that I was in at Penn, but we never -- I never      24      Q. Let me rephrase it then. In terms of
   25 worked for him, no, or with him on the same         25 what you're holding yourself out as an expert in

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                                                   Page 30                                                   Page 32
    1 this case on, is it organic synthesis?                  1 particular time during this process, or is it just
    2     A. Yes.                                             2 more generic that you know you were reviewing
    3     Q. What does organic synthesis mean?                3 documents?
    4     A. It's preparing -- synthesizing new               4        MS. ROSE: Object to the form.
    5 molecules from existing building blocks. So it's        5 BY MR. SLATER:
    6 the actual steps you take to make a chemical bond       6     Q. Do you get what I'm saying? I'm asking
    7 to change one molecule into another one.                7 if you were able to say on this day it says
    8     Q. If I understand that correctly, you're           8 document review, but I know on that day I was
    9 talking about the actual development in the             9 reviewing these documents.
   10 laboratory of the drug substance?                      10        MS. ROSE: Object to form.
   11     A. It's the synthesis -- it's the                  11        THE WITNESS: No, I can't -- I can't say
   12 development of the synthesis of the drug substance.    12 that.
   13     Q. When you say the development of the             13 BY MR. SLATER:
   14 synthesis, just tell me more specifically what that    14     Q. When it refers to report preparation,
   15 means. When you refer to the synthesis, is that        15 what does that mean?
   16 the actual method to manufacture that drug product?    16     A. The witness report that was -- was
   17     A. Yes, drug substance.                            17 provided. So there's reading documents, forming an
   18     Q. Is that the intent, that that drug              18 opinion, and then actually writing the report.
   19 substance would ultimately be developed into an        19     Q. Just to come back to one thing we were
   20 API?                                                   20 talking about a moment ago. You said that your
   21     A. Yeah, the drug -- the synthesis that            21 expertise that you bring to this case is in the
   22 we're working on, the last step of the synthesis is    22 field of organic synthesis; correct?
   23 the API, prepares the API.                             23     A. Yes.
   24     Q. And that's all at the lab scale; correct?       24        MS. ROSE: Object to the form.
   25     A. At kilo lab scale.                              25        THE WITNESS: Sorry.
                                                   Page 31                                                   Page 33
    1     Q. Is kilo lab scale otherwise known as             1 BY MR. SLATER:
    2 pilot scale?                                            2     Q. You're not holding yourself out as a
    3     A. It's just before. So pilot scale I               3 regulatory expert in this case; correct?
    4 consider to be 50 kilos, hundred kilos. And kilo        4     A. Correct.
    5 lab is five to ten kilos. And they supply               5     Q. You're not holding yourself out as an
    6 different phases of development.                        6 expert in current good manufacturing practices and
    7     Q. So your development work has been at the         7 providing opinions on that; correct?
    8 laboratory level up to five to ten kilos of             8     A. That's correct.
    9 product?                                                9     Q. You're not holding yourself out as an
   10     A. Yeah. We prepare product for phase one          10 expert in risk assessment process for drugs;
   11 clinical trials. Substance, I'm sorry.                 11 correct?
   12     Q. If I understand correctly, your                 12     A. That's correct.
   13 development work would be at the lab scale up to       13     Q. You're not holding yourself out as an
   14 five to ten kilograms. And then if development         14 expert with regard to the content of the organic
   15 process were to continue after that, it would then     15 chemistry literature; correct?
   16 go to pilot scale, and that would be another --        16        MS. ROSE: Object to the form.
   17 those would be other people that would conduct the     17        THE WITNESS: I'm not holding myself out
   18 pilot scale?                                           18 as an expert on the content of organic chemistry
   19     A. Yes, as is typical in the industry.             19 literature?
   20 That's the way it's done.                              20 BY MR. SLATER:
   21     Q. When I look at the description in your          21     Q. Yes, in terms of what was in the
   22 invoice of what you did, it refers to Zoom calls,      22 literature, and when.
   23 document review, and report preparation. In terms      23        MS. ROSE: Object to the form.
   24 of the document review, would you be able to tell      24        THE WITNESS: So if -- if I read a paper
   25 me what documents you're reviewing at any              25 on organic chemistry, so this is, I'm an expert?

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    1 If you're asking me do I have encyclopedic           1     Q. But the report had been completed by
    2 knowledge of every publication on organic chemistry 2 April 10th; right?
    3 since the time they started publishing, I don't      3     A. Yes.
    4 know that.                                           4     Q. Did you read any depositions as part of
    5 BY MR. SLATER:                                       5 your review of materials?
    6     Q. You did not do any independent study or       6     A. Yes, I did.
    7 analysis of what subjects were in the literature at  7     Q. Which depositions did you read?
    8 particular times? You didn't independently           8     A. I read the deposition of Hecht. I read
    9 evaluate that question; right?                       9 the deposition of Najafi. I read the deposition of
   10        MS. ROSE: Object to the form.                10 Min Li. I read the deposition of somebody else who
   11        THE WITNESS: No, I did not.                  11 I can't remember his name from -- from ZHP. And
   12 BY MR. SLATER:                                      12 those are the four depositions I can remember
   13     Q. In looking at your invoice again, on         13 reading.
   14 April 10, 2025 it says document review and report   14     Q. Do you recall the role of the person
   15 preparation. Do you see that entry?                 15 whose name you can't recall at present?
   16     A. Yes.                                         16     A. Yeah, he was like the VP of the company.
   17     Q. I don't see any other entry referring to     17 He was high level.
   18 report preparation. So can I -- rephrase it. Let    18     Q. Jun Du?
   19 me start over. I'm sorry. I lost my train of        19     A. I think so.
   20 thought.                                            20     Q. You mentioned him in your report, so I'm
   21          When I look at your invoice, on            21 trying to help you out.
   22 April 10, 2025 there's a reference to document      22        MS. ROSE: Objection, form.
   23 review and report preparation. There are no         23        MR. SLATER: Object to my help.
   24 subsequent references to report preparation. Does   24 Actually, that's a good objection.
   25 that mean that you had finished preparing your      25 BY MR. SLATER:
                                                    Page 35                                                    Page 37
    1 report as of April 10th, and then you just               1     Q. Okay. You can think about it, but as you
    2 continued to review documents and had Zoom calls         2 sit here now, do you feel that probably that fourth
    3 after that time?                                         3 person was Jun Du?
    4     A. Yes.                                              4     A. I'd have to look at the name on the
    5     Q. Why did you continue to review documents          5 deposition.
    6 and have Zoom calls after your report was done?          6     Q. Okay. I'll make a note. I may come back
    7 What was the purpose of that ongoing review and          7 and ask you that maybe after a break. I don't want
    8 those calls?                                             8 you to do anything now.
    9     A. So, you know, I didn't just stop, write           9     A. Okay.
   10 the report, put it down, and forget the whole case,     10     Q. Did you read the entire deposition
   11 right? There were questions I had, thought              11 transcripts for every one of those witnesses, or
   12 processes I had that I wanted to go back and            12 parts of them?
   13 clarify further by reading documents in more detail     13     A. I think I read the entire deposition
   14 so I could get a clearer picture in my mind of          14 transcript. I found it interesting.
   15 everything that happened, 'cause, you know, there's     15     Q. Do you know how long it took you to read
   16 a lot of documents, and I wanted to read things,        16 the deposition transcripts of Dr. Hecht?
   17 especially the DIR, what are they called, deviation     17     A. Yeah, I was clocking myself at, it was
   18 investigation report. I wanted to read that in          18 less than a page a minute. It was a little faster
   19 more detail than I had.                                 19 than a page a minute, but it wasn't two pages a
   20          So I would read the things -- like             20 minute. Something like that, one-and-a-half pages
   21 Najafi and Hecht would reference certain -- certain     21 a minute, something like that, it was taking me to
   22 DIR -- certain places in the DIR. I would read          22 read it.
   23 those. But then I went back and read it more            23     Q. You actually have a -- you kept track of
   24 thoroughly from start to finish after I wrote the       24 the time to read per page?
   25 report to get myself up to speed fully.                 25     A. Yeah. I would look at -- look -- before

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    1 I start, I'd look at the clock. Yeah, 25 pages         1 today. But between April 30th and today have you
    2 later I'd look at the clock again. How fast am I       2 spent additional time?
    3 going, you know?                                       3     A. Yes.
    4     Q. Did you take notes while you were reading       4     Q. What have you done between April 30th and
    5 these deposition transcripts?                          5 the present?
    6     A. No.                                             6     A. I continued with document review and
    7     Q. You just read them?                             7 preparation for the deposition.
    8     A. I read them, yeah.                              8     Q. Let's go to exhibit -- I guess we're up
    9     Q. Did you highlight them or put notes on          9 to four. Let's go to Exhibit 4, which will be the
   10 them?                                                 10 expert report.
   11     A. No. If I'm taking notes, I'm not at the        11        MS. ROSE: Doctor, are you able to see
   12 meeting.                                              12 Exhibit 4 on --
   13     Q. Did you read the entire deposition             13        THE WITNESS: Yeah. I'm not -- I'm still
   14 transcript of Dr. Najafi?                             14 trying to bring it up. I can only get as far as
   15     A. I believe I did. But there was two of          15 Exhibit 3.
   16 them. Yeah, there was two of them. I believe I        16        MR. SLATER: No problem. It's probably
   17 read both of them, one day after the other.           17 just being loaded.
   18     Q. Did you read all the deposition                18        THE WITNESS: No, it's still only going
   19 transcripts of Min Li?                                19 as far as Exhibit 3. There we go. Okay, I can see
   20     A. I did. There was two of those too.             20 it.
   21     Q. You saw two transcripts of Min Li?             21 BY MR. SLATER:
   22     A. I saw two different days. I believe            22     Q. Doctor, do you see in front of you
   23 there were two different days.                        23 Exhibit 4, which is your expert report?
   24     Q. Did you read all the testimony of Jun Du,      24     A. I do.
   25 all of his transcripts?                               25     Q. And it looks like the body of the report
                                                  Page 39                                                   Page 41
    1     A. For some reason I thought I only had half       1 itself is ten pages -- ten pages. I see it was
    2 of that. So I'm -- I'd have to go back and see         2 signed by you electronically on April 10, 2025; is
    3 what things I read for Jun Du.                         3 that correct?
    4     Q. Did you ever hear of Dr. Hecht before you       4     A. I'm just scrolling down to page 10. But
    5 got involved in this case?                             5 that sounds like -- yeah, that's -- that's it.
    6     A. No. And I had him confused with somebody        6 That looks like it, yes.
    7 else. Sidney Hecht. There's a Sidney Hecht at the      7     Q. You state right above the signature, "I
    8 University of Virginia. That's who I thought it        8 hold these opinions to a reasonable degree of
    9 was. But his -- what's his first name? His name        9 scientific certainty." Do you see that?
   10 is --                                                 10     A. Yes.
   11     Q. Stephen Hecht.                                 11     Q. What does that mean?
   12     A. Stephen Hecht, yeah. No, he's somebody         12     A. I would say that I used the same
   13 else. So no, I had never heard of him before this.    13 scientific rigor to prepare this report that I
   14 Sidney, Stephen, you got me confused, you know.       14 would use to conduct my research.
   15     Q. There's a series of Zoom calls                 15     Q. When you refer to conduct your research,
   16 interspersed. Who are those Zoom calls with? You      16 what research are you referring to?
   17 had told us about the first one with Paul. How        17     A. So to conduct the synthetic -- the
   18 about on a going-forward basis, who else did you      18 chemistry that we did -- or the research that we
   19 speak to on Zoom calls?                               19 did at J-STAR, the research that we did at Merck,
   20     A. So there was Nina -- these are the people      20 there was a level of scientific rigor that I
   21 I can remember, which I think is complete: Nina,      21 applied in that research. And I applied that same
   22 Jessica, Archer and Louis.                            22 level of rigor to preparing this report.
   23     Q. Is there additional time you have spent        23     Q. And what did that research involve at
   24 after April 30th, which is the last entry on this     24 those times, figuring out how these different
   25 invoice? Obviously you're here for the deposition     25 substances you were working with could create the

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    1 desired drug substance?                                1        MS. ROSE: If you could wait, Doctor, for
    2     A. Working on the synthesis, solving               2 a second. I'm trying to get in there quick.
    3 problems, yes.                                         3        THE WITNESS: All right.
    4     Q. So if I understand correctly, when you          4        MS. ROSE: If you could give me a second
    5 were actively working in the lab, you were -- you      5 to object, like Mr. Slater said at the beginning of
    6 were part of the team that was actually figuring       6 the deposition, that would be very helpful. Thank
    7 out how do we make this substance? That might be       7 you.
    8 simple, but is that right?                             8        THE WITNESS: Okay. So it wasn't the
    9     A. Yes, what steps do we use, what chemistry       9 manufacturer that provided. It was -- it was the
   10 do we use.                                            10 owner of the intellectual property. And they would
   11     Q. Going back to your work at Merck. Is           11 sometimes provide us with a synthesis, sometimes
   12 that what you did at Merck?                           12 provide us with a target and no synthesis, or
   13     A. Yes.                                           13 partially a synthesis. Usually they had some
   14     Q. Then it looks like you started a company       14 synthesis problem they needed solved that we solved
   15 called J-STAR; correct?                               15 for them.
   16     A. J-STAR Research, yes.                          16 BY MR. SLATER:
   17     Q. And what is J-STAR Research?                   17    Q. When you say the owner of the
   18     A. What do they do?                               18 intellectual property as opposed to the
   19     Q. Yep.                                           19 manufacturer, can you explain to me the
   20     A. Okay. So if I talk too long about              20 distinction, please?
   21 this --                                               21    A. Yes. So the owner -- the manufacturer is
   22     Q. Give me -- let me cut you off. Tell me         22 just another contract lab like J-STAR, okay? I
   23 at a high level what J-STAR does, and then we'll      23 didn't own the intellectual property. The
   24 get into a little more as we talk today.              24 manufacturer doesn't own the intellectual property.
   25     A. Okay. So J-STAR -- so at Merck I worked        25 There's an entity, that's the biotech, they -- and
                                                  Page 43                                                  Page 45
    1 in the department of process research. That was     1 they're funded by venture capital. They own the
    2 one department at Merck. There was a medicinal      2 intellectual property. And they contract out all
    3 chemistry department. There was the department of   3 the aspects of the development. So I consider the
    4 the process research. So J-STAR was the department 4 manufacturer another contract -- contractor in the
    5 of process research that a company could outsource  5 supply chain.
    6 to to get that kind of work done.                   6    Q. Would that apply to Merck? For example,
    7          If you didn't have your own department     7 would you see Merck as a manufacturer in that
    8 and didn't want to spend the money to build it and  8 context as you define those terms?
    9 hire the people, you could rent it from us. And     9        MS. ROSE: Object to the form.
   10 when you were done, you handed back the keys and 10          THE WITNESS: So Merck is a different
   11 stopped paying for it. That was the product that I 11 beast. Merck would never be a customer -- not
   12 was selling.                                       12 really be a customer of mine. Merck had everything
   13     Q. So J-STAR was a contract process research   13 internally. They were the owner of the
   14 laboratory?                                        14 intellectual property. They had the process
   15     A. Contract research laboratory, CRO.          15 research group, and they had the manufacturing
   16     Q. When J-STAR would be contracted for a       16 assets and drug product and marketing. They had
   17 specific project, would the manufacturer -- what   17 everything, soup to nuts. They didn't need to
   18 would the manufacturer provide to J-STAR in order 18 contract out to anybody. They had it all. All the
   19 to get J-STAR going? Would it just be a general    19 big pharmas are like that.
   20 idea? Would it be actual synthesis analysis?       20 BY MR. SLATER:
   21 Would it be actual development ideas? What would 21      Q. Okay. And that's helpful, 'cause I
   22 they give you to get started?                      22 wanted to understand who your client base was at
   23        MS. ROSE: Object to form.                   23 J-STAR. And I understood that maybe you were
   24        THE WITNESS: All of the above. Oh,          24 working with companies like Merck or Johnson &
   25 sorry.                                             25 Johnson or other companies that actually, as you

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    1 said, have -- have all of these different facets     1 process whereby you could actually manufacture the
    2 internally. But those would not have been your       2 API?
    3 customers at J-STAR?                                 3    A. Yes.
    4    A. So Merck sent us a little bit of work.         4    Q. So in other words, the how to?
    5 We had some work with large companies that had all 5      A. The how to, yeah.
    6 those things. But the bulk of our work was with      6    Q. In doing some research, it looked like
    7 smaller companies, merging pharma companies.         7 your company was purchased or acquired by another
    8    Q. When you say that you would be provided        8 company called Porton, P-O-R-T-O-N. Is that
    9 the -- I'm going to call it the assignment or        9 correct?
   10 contract with the owner of the intellectual         10    A. Yes.
   11 property -- what would they be giving to you to get 11    Q. And from my reading, it looks like that
   12 you started? How would that typically happen?       12 took place in 2017?
   13    A. They would give me a tech package, and        13    A. Yes.
   14 the tech package would outline usually the target,  14    Q. What is Porton?
   15 whatever synthesis they had in place at that point, 15    A. So Porton's a bigger fish. They're a
   16 and all the requirements they wanted me to take     16 manufacturer. And so they were -- they're based in
   17 care of. And they wanted me to quote on what it     17 China, central China, next to outer Mongolia. They
   18 would cost to do all that, and a timeline.          18 wanted to have a presence in the United States. To
   19    Q. When you refer to the target, what does       19 get that presence, they bought us.
   20 that mean?                                          20    Q. Did your company's name change at that
   21    A. The target is the API.                        21 point, or were you just then a wholly-owned
   22    Q. In terms of what it was intended to be        22 subsidiary of Porton?
   23 able to do? Let me ask it differently.              23    A. We were a wholly-owned subsidiary of
   24           When you say the target is the API,       24 Porton.
   25 just tell me exactly what it is that that means to  25    Q. Did Porton have control over your
                                                  Page 47                                                   Page 49
    1 you. I don't want to inartfully describe it.           1 operations as the owner?
    2     A. So that's the chemical structure of the         2     A. Yes, they did.
    3 API. I would get -- I would get provided the           3     Q. Did your company develop substances for
    4 chemical structure. And the chemical structure of      4 manufacture in China?
    5 the intermediates and the steps they used to           5     A. Yes, we did.
    6 convert the intermediates to the API. Chemical         6     Q. What substances were those?
    7 structure is all I got.                                7     A. So that's kind of proprietary
    8     Q. And you would then take that chemical           8 information, but -- and it didn't happen all the
    9 structure and attempt to synthesize it into an         9 time, but there were certain cases where somebody
   10 actual API that could be produced in the lab?         10 wanted a metric ton of an intermediate and the
   11     A. So I would take their synthesis and            11 synthesis wasn't even capable of making a gram. So
   12 eval -- we would evaluate it to see if it was         12 we'd work out the process in the United States, and
   13 practical for scale up to kilogram scale. And if      13 then we'd send that process to the chemists in
   14 it wasn't, we would suggest to the customer you       14 China, and they would make the metric ton out of
   15 need to fix this step, you need to look at this       15 it. So that was the idea behind the purchase.
   16 here, you need to do this, you need to do that.       16          So we would get the business on the
   17          But by and large, yes, I would take          17 small scale, work it out or send it directly to
   18 the chemical structures, I would buy the starting     18 China. That was the idea.
   19 materials from a chemical company or raw materials    19     Q. So in those cases you would figure out at
   20 supplier, and I would buy the reagents to do the      20 the lab scale how this could be manufactured and
   21 chemistry, and we would do the conversions. But       21 think it through and then send them to -- that
   22 there was -- there was a lot of research that went    22 process and they could then attempt to manufacture
   23 into it before we started making material.            23 at a larger scale in China when that happened?
   24     Q. When you say there was a lot of research,      24     A. Yes. So when that happened, they didn't
   25 would that be the research into developing a          25 need us to make five kilos, 'cause they can

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                                                   Page 50                                                  Page 52
    1 make -- so we would give them the recipe. Here's        1     A. Hold on. I gotta scroll all the way up
    2 the recipe, you know, A, B, C, D instructions.          2 to the top, 'cause I was at the signature page.
    3 Here it is. You can take it from -- and we would        3 The first paragraph, "I have been asked." That
    4 give it to a technical group in China, and they         4 one?
    5 would take over from there.                             5     Q. Exactly.
    6     Q. Did you travel to China at any time as           6     A. Okay.
    7 part of this work?                                      7     Q. Looking at the first paragraph on page 1
    8     A. I did.                                           8 you wrote, "I've been asked to review and respond
    9     Q. How often?                                       9 to certain statements made in expert reports
   10     A. Two or three times a year.                      10 submitted by Drs. Ramin Najafi and Stephen Hecht in
   11     Q. Why was that?                                   11 connection with this litigation." And I just want
   12     A. So they would have, like, corporate board       12 to stop there.
   13 meetings, and they just liked to be face to face,      13          When you refer to reviewing and
   14 so -- and they had operations all over the world.      14 responding, did you understand that your role here
   15 It wasn't just New Jersey. They had operations in      15 was to look at what they said and then give your
   16 Switzerland. They had operations in Belgium.           16 reaction to what they were saying?
   17 And -- and all of those people would get together      17     A. Yeah, my role was to give my opinion on
   18 for a board meeting. So I'd get to meet all those      18 their opinions.
   19 people. We'd have dinner together.                     19     Q. And that's what you say in the next
   20        MR. SLATER: I'm happy to keep going. I          20 sentence, specifically, "I have been asked to
   21 know, Nina, sometimes you like to take breaks.         21 evaluate opinions by Drs. Najafi and Hecht
   22 It's up to you. This would be a good breaking          22 regarding the state of knowledge in the field of
   23 point. But if you want to keep going, I can go         23 chemistry and, in particular, by chemists involved
   24 without stopping.                                      24 in the development and manufacture of drug
   25        MS. ROSE: You hit one hour on the nail,         25 substances regarding the potential for formation of
                                                   Page 51                                                  Page 53
    1 Adam. So, yeah, it's a perfect time for a break.    1 nitrosamines in valsartan drug substance
    2        THE WITNESS: Okay, great. Be back in         2 manufactured by ZHP prior to the discovery of trace
    3 two minutes.                                        3 amounts of NDMA in the drug substance in 2018."
    4        MR. SLATER: Let's give it five. See you      4           And that's -- that's -- is that a good
    5 soon.                                               5 explanation of what your role was here and what you
    6        THE VIDEOGRAPHER: We're off the              6 brought your expertise in on?
    7 record -- would you like to go off the record?      7     A. Yes.
    8        THE WITNESS: Yeah, five minutes, right?      8     Q. And again, you didn't do anything
    9 I heard you.                                        9 independent in terms of research. As you told me
   10        MS. ROSE: Yeah, just five. Mute --          10 before, you looked at their depositions, you looked
   11        THE VIDEOGRAPHER: We're off the             11 at their reports, you looked at the documents you
   12 record --                                          12 were given, and reacted to that information;
   13        MS. ROSE: We're off the record.             13 correct?
   14        THE VIDEOGRAPHER: No. We're off the         14     A. Yes.
   15 record at 10:44 a.m. Thank you.                    15     Q. And when you provided your opinions based
   16              (Break taken.)                        16 on your evaluation, it's my understanding you were
   17        THE VIDEOGRAPHER: We're back on the         17 basing that on your experience based on your work
   18 record at 11:05 a.m.                               18 that you've done over the years in the chemistry
   19 BY MR. SLATER:                                     19 field; correct?
   20     Q. Okay. Doctor, I'm looking at your report    20     A. Yes.
   21 now which we marked as Exhibit 4. Do you have that 21     Q. You were not applying, that I saw from
   22 in front of you?                                   22 the report, any specific standard or outside
   23     A. I'm going to get -- yes, I do.              23 criteria to measure what was known or should have
   24     Q. Okay. I'm looking right at the first        24 been known. You based it on what you know based on
   25 paragraph.                                         25 your work and your own experience; correct?

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                                                      Page 54                                                    Page 56
    1        MS. ROSE: Objection, form.                          1      Q. Did you read every single exhibit from
    2 BY MR. SLATER:                                             2 every single deposition that's listed here?
    3     Q. Let me ask it differently. In terms of              3      A. No.
    4 the standard that you applied in evaluating what           4      Q. Do you know which exhibits you read and
    5 Drs. Najafi and Hecht said, am I correct that you          5 which you didn't read?
    6 measured what they said against what you're                6      A. I can't recall off the top of my head.
    7 familiar with from your work and what you know from        7      Q. Does this report contain all of the
    8 your practice of organic chemistry or synthesis as         8 opinions that you have formed in this case?
    9 you described it? Do I understand that correctly?          9      A. Yes.
   10     A. Yes. I mean, it's in particular to                 10      Q. And you understand that's the purpose of
   11 impurities and how impurities are identified.             11 the report being written, is to give notice to us,
   12 That's kind of the focus of my opinion, how you           12 the plaintiffs, as to what your opinions are so we
   13 identify -- how you first notify and how you              13 can understand what opinions you may give at trial.
   14 identify impurities. That's what I'm referring to,        14 You understood that; right?
   15 yes.                                                      15      A. Yes.
   16     Q. And in terms of how that is done and what          16      Q. In the course of the report you talked
   17 needs to be looked for, you base that on your own         17 about certain facts. You cited to certain
   18 experience working in a lab; is that correct?             18 testimony, certain parts of the expert reports,
   19     A. I base it on my -- on my experience with           19 certain documents. Are those the specific items
   20 all the APIs I've ever developed over 35 years.           20 that you found to be most important to you in
   21 Somebody's trying to come in. That might not be           21 forming your opinion here?
   22 good, unless that's just the mailman. Hold on.            22      A. Yeah, if I'm citing something,
   23 Just give me a sec.                                       23 it's -- it's cherry-picked most important documents
   24        MS. ROSE: Should we go off the record?             24 to me, yes.
   25        MR. SLATER: Sure.                                  25      Q. Let's go to page 3 if we could.
                                                      Page 55                                                    Page 57
    1        THE WITNESS: No, I think we're okay.                1     A. Okay.
    2        MR. SLATER: No, no, we're back.                     2     Q. You state in section three, Opinions,
    3        THE WITNESS: My concern is that one of              3 "Over the course of my 38 years of work in the
    4 my three-year-old grandkids is going to come               4 pharmaceutical and drug development industry, I've
    5 tearing through here and -- you know, and                  5 been involved in the development of more than 250
    6 interrupting. No, it's okay. That's not                    6 APIs." I'm going to stop there.
    7 happening.                                                 7          Were these APIs new drugs or at least
    8 BY MR. SLATER:                                             8 intended to be new drugs, or were they generics in
    9    Q. If they come in, we gotta put them under             9 the sense of trying to be the generic equivalents
   10 oath.                                                     10 of something else that was already a brand drug?
   11    A. I know. That's why I don't want them                11     A. I would say greater than 99 percent of
   12 coming in.                                                12 them were new branded pharmaceutical -- were going
   13    Q. Let's go to the second page of your                 13 to be new branded pharmaceuticals, new drugs.
   14 report, please.                                           14     Q. You state in the second sentence of that
   15    A. Okay. Okay, so you're going over there.             15 section, "In developing every one of the API
   16 Okay. Second page.                                        16 substances I worked with over the course of my
   17    Q. You have a heading that says Basis for              17 career, I and my team made an effort to anticipate
   18 Opinions. And that's listing an overview of what          18 impurities that may form in the production of the
   19 you reviewed; correct?                                    19 drug substance." Do you see where I'm reading?
   20    A. Yes.                                                20     A. Yes.
   21    Q. Now in reviewing this you refer to, for             21     Q. When you say an effort to anticipate
   22 example, the deposition or the depositions of             22 impurities that may form in the production of drug
   23 Dr. Hecht and exhibits. Do you see those bullet           23 substance, what does that mean?
   24 points at the bottom of the page?                         24     A. So I would look at the chemical
   25    A. Yes.                                                25 structure, I'd look at the reaction we were doing,

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    1 and the conditions, and if I could see a possible        1    A. Yes.
    2 reaction pathway that I didn't want to happen that       2    Q. You don't have to know that it's
    3 would generate an impurity, I would try to               3 definitely going to form before you start to be
    4 anticipate those. I would try -- I would try to          4 concerned; right?
    5 figure out what could go wrong in every step. Me         5        MS. ROSE: Object to the form.
    6 and my team would do that.                               6        THE WITNESS: It's also not a hundred
    7    Q. Did you do so based on your experience             7 percent going to cover every situation. It's only
    8 and knowledge?                                           8 the ones you can think of.
    9    A. Yes.                                               9        MR. SLATER: Move to strike.
   10    Q. Did you do independent literature or              10 BY MR. SLATER:
   11 other scientific research as part of that?              11    Q. My question is this --
   12    A. Sometimes.                                        12        MS. ROSE: Adam, I'm sorry --
   13    Q. You indicate, "For example, after 2015            13        MR. SLATER: I did it again. I'm sorry.
   14 ICH M7 -- addressing genotoxic impurities -- was        14 I apologize. I withdraw that.
   15 adopted by the FDA, the potential formation of          15 BY MR. SLATER:
   16 genotoxic impurities was a consideration with           16    Q. I wish someone was here to hit me with a
   17 respect to every API that we developed"; correct?       17 ruler, you know, on the hand.
   18    A. Correct.                                          18    A. We are.
   19    Q. What's ICH M7?                                    19    Q. When you refer to the potential
   20    A. So I'm not the regulatory expert; I think         20 formation, that's what you need to be concerned
   21 we established that in the beginning. But my            21 about. It's not that you have to know something is
   22 understanding of ICH M7 is that that's the guidance     22 going to form before you have a concern; correct?
   23 that came out specifically relating to genotoxic        23        MS. ROSE: Object to the form.
   24 impurity presence in API.                               24        THE WITNESS: Yeah, you want to -- if you
   25    Q. Did you ever read the ICH M7?                     25 know it's in there, if you put it in there, for
                                                    Page 59                                                    Page 61
    1    A. I did.                                             1 example, put it in there, you know it's going to be
    2    Q. Did you ever read the prior versions               2 there, and things you can think of that
    3 before 2015?                                             3 could potentially form. Again, the emphasis in
    4    A. The guide -- the draft guidance?                   4 that sentence is things you can think of. It
    5    Q. The draft of ICH M7 going back to 2013,            5 doesn't cover things you can't think of or you
    6 did you read that?                                       6 haven't -- you didn't think of.
    7    A. I had a hard time finding that. I don't            7 BY MR. SLATER:
    8 know if I ever found it or could read it. I don't        8    Q. Do you know what standards applied to the
    9 remember.                                                9 people at ZHP who were the process chemists in
   10    Q. Do you understand what a genotoxic                10 terms of what the standard was for them in terms of
   11 impurity is?                                            11 what they were supposed to do in order to evaluate
   12    A. I have my understanding.                          12 potential formation of genotoxic impurities? Do
   13    Q. What's your understanding?                        13 you know what standards applied to them?
   14    A. It's typically an alkylating agent that           14        MS. ROSE: Object. Outside the scope of
   15 reacts with DNA and causes a disruption in the          15 his expertise.
   16 D -- in the DNA structure, change of base.              16        THE WITNESS: And the answer is no, I do
   17    Q. You referred to the potential formation           17 not.
   18 of genotoxic impurities; correct?                       18 BY MR. SLATER:
   19    A. I'm trying to see where it says --                19    Q. So if I'm understanding, you did not
   20    Q. That same sentence I asked you about.             20 apply any specific, for example, published standard
   21    A. Yeah.                                             21 or standards in evaluating what the people at ZHP
   22    Q. And you would agree with me                       22 could or should have known about with regard to
   23 that's -- that's what the developer of a drug           23 potential impurities, specifically genotoxic
   24 substance would need to be aware of potential           24 impurities; correct?
   25 formation; right?                                       25        MS. ROSE: Object to the form.

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                                                   Page 62                                                    Page 64
    1        THE WITNESS: No. I didn't know what              1 BY MR. SLATER:
    2 standards they were applying. I couldn't possibly       2      Q. Doctor, you said that if you don't
    3 have done that.                                         3 anticipate it, you can't control it a moment ago.
    4 BY MR. SLATER:                                          4 Do you remember that?
    5     Q. And you didn't apply any specific                5      A. If you don't anticipate it, you can't put
    6 standard in evaluating this material; correct?          6 in protocols to control it. It's a little more
    7        MS. ROSE: Object to the form.                    7 than that, actually. If you don't anticipate it,
    8        THE WITNESS: In evaluating the valsartan         8 and you don't see it on a chromatogram, you don't
    9 material?                                               9 see any evidence of it, so you didn't think of it,
   10 BY MR. SLATER:                                         10 and you don't see any evidence in your data that
   11     Q. The material in this case, you didn't           11 it's there, yeah, you're going to miss that one.
   12 apply a specific standard or standards in reaching     12      Q. And when you say if you don't anticipate
   13 your opinions; correct?                                13 it, you're not saying that in all cases the failure
   14        MS. ROSE: Object to the form.                   14 to anticipate that there's a potential formation of
   15        THE WITNESS: I didn't -- I didn't apply         15 a genotoxic impurity is excusable? You're not
   16 any known risk analysis, formal risk analysis, to      16 saying that; right?
   17 it.                                                    17      A. In all cases it's excusable if you don't
   18 BY MR. SLATER:                                         18 anticipate it. No, I'm not saying that.
   19     Q. For example, you didn't go back, for            19      Q. Because the -- based on your experience
   20 example, to any of the FDA or ICH guidances with       20 in your lab, you would give some thought to it and
   21 regard to genotoxic impurities, look for what they     21 you would hope that you anticipate potential
   22 said is supposed to be done in terms of assessing      22 impurities; right?
   23 the risk for genotoxic impurities, and apply those     23         MS. ROSE: Object to the form.
   24 standards? That's not something you did; correct?      24         THE WITNESS: Yes, so that's -- I don't
   25        MS. ROSE: Object, outside the scope.            25 know how to put it -- a nerve-wracking situation,
                                                   Page 63                                                    Page 65
    1        THE WITNESS: I read the guidance to see       1 right? Because you have to anticipate it. You
    2 what the -- the levels should be and how you would   2 have to hope you see it. And if you don't, you're
    3 determine them. In all cases, things -- the way I    3 going to miss it.
    4 read the guidance, things you know about, or things  4 BY MR. SLATER:
    5 you can anticipate, you have to control. But the     5    Q. Do you know -- well, rephrase. I think
    6 way I read it, if you didn't anticipate it, you      6 you've already said that you don't know and didn't
    7 couldn't possibly control it. That's the way I       7 apply any particular standards in terms of what the
    8 read the guidance.                                   8 people at ZHP were supposed to do to try to
    9 BY MR. SLATER:                                       9 anticipate potential genotoxic impurities; correct?
   10     Q. Is that the M7 you're talking about?         10        MS. ROSE: Object to the form.
   11     A. Yes.                                         11        THE WITNESS: No, I don't know what
   12     Q. In evaluating what ZHP knew or should        12 protocols they were supposed to do or -- I know
   13 have known, did you apply their internal standard   13 what they did in the DIR afterwards, but not
   14 operating procedures or internal protocols?         14 beforehand.
   15     A. Did I apply ZHP's internal standard          15 BY MR. SLATER:
   16 operating procedures?                               16    Q. And you don't know what they were
   17     Q. Correct.                                     17 supposed to do based on any regulatory standards or
   18     A. No. I just gotta take a minute. Can I        18 any internal protocols. That's not something you
   19 come back in a minute?                              19 took into account; right?
   20        MR. SLATER: Can we go off?                   20        MS. ROSE: Object to the form.
   21        THE VIDEOGRAPHER: We're off the record 21              THE WITNESS: That's correct, I did not
   22 at 11:22 a.m.                                       22 take that into account.
   23              (Break taken.)                         23 BY MR. SLATER:
   24        THE VIDEOGRAPHER: We're back on the 24             Q. In terms of what could have been known
   25 record at 11:25 a.m.                                25 here, you base that on your own experience and

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    1 knowledge from your own work. That was -- that was         1 support your opinion, is that the statements that
    2 your criteria; correct?                                    2 you quoted in your report regarding whether or not
    3        MS. ROSE: Object to the form.                       3 people were aware of the presence of nitrosamines
    4        THE WITNESS: I based it on my knowledge             4 in the valsartan drug product before it was
    5 and what I thought the knowledge would be for the          5 disclosed in June 2018?
    6 people I worked with over the years, and also on           6     A. I'm not exactly sure. There was a -- you
    7 the fact that this -- these amendments that the DMF        7 know, there was a statement that came out about the
    8 were reviewed by chemists at the FDA and the EMEA.         8 GC mass spec method they developed, and this was
    9 So I got insight into what they were thinking also         9 not easy to do because they're difficult to see.
   10 from their responses to those amendments.                 10 So it was statements like that that the FDA came
   11            So it was three -- really three                11 out with that I thought supported the position that
   12 different things. It wasn't just my own opinion.          12 this was -- this was a difficult wrinkle to see.
   13 It was -- I mean, there was people out there              13     Q. Did you also notice that the FDA issued a
   14 reviewing those documents with an eye towards             14 warning letter to ZHP and put them on an import
   15 safety who didn't notice this.                            15 alert?
   16 BY MR. SLATER:                                            16     A. Yes, I did.
   17     Q. You agree with me that ZHP was                     17     Q. Did you see that the FDA was critical of
   18 responsible for the quality of its valsartan API at       18 ZHP's evaluation of this question of the potential
   19 all times?                                                19 impurities when they were developing this
   20     A. I agree that they were responsible for             20 manufacturing process?
   21 the quality and they were responsible for knowing         21     A. So --
   22 the process. But when I say the FDA reviewed it           22        MS. ROSE: Object to the form.
   23 and missed it, I'm not saying they were                   23        THE WITNESS: -- my recollection of that
   24 responsible. I'm saying they did it -- I could            24 warning letter comes from Najafi's report. And
   25 understand what they were thinking. That's all I'm        25 when I read through each one of them -- there was
                                                      Page 67                                                    Page 69
    1 saying, is what they were thinking, and they didn't        1 like eight of them -- it didn't look to me like any
    2 see it. I'm not saying they were responsible. I'm          2 one of those problems resulted in them missing this
    3 just saying what they were thinking. That's all            3 impurity. And there were other problems with,
    4 I'm doing with that information.                           4 like, reporting structures.
    5     Q. In forming your opinion here, are you               5           And they were not -- there wasn't a
    6 relying on statements by the FDA?                          6 single problem I saw in the warning letter that I
    7     A. I wouldn't say -- I'm not relying on the            7 could directly attribute to them not observing this
    8 FDA statements in a major way. I mean, in a                8 impurity. So it was -- it was -- it wasn't -- it
    9 supporting way, yes, there's a lot of statements           9 was irrelevant. I hate to say that their warning
   10 the FDA made that support -- support my opinion           10 letter was irrelevant, but it was irrelevant to my
   11 that this was not an -- not an obvious and easy           11 forming this opinion.
   12 thing to catch.                                           12     Q. So I understand, you felt that the
   13     Q. Do you know whether or not ZHP was                 13 contents of the warning letter was irrelevant to
   14 expected to be aware of this risk even though it          14 the issue that you were opining on?
   15 wasn't obvious and easy to catch, as you said?            15        MS. ROSE: Object to the form. Misstates
   16        MS. ROSE: Object to the form.                      16 the witness.
   17        THE WITNESS: Do I know if ZHP should               17        THE WITNESS: Yes, it was irrelevant to
   18 have been -- what exactly did you say?                    18 the issue that I was providing an opinion on, yes.
   19 BY MR. SLATER:                                            19 BY MR. SLATER:
   20     Q. I'll ask it again. Do you know whether             20     Q. Did you read the warning letter or just
   21 ZHP was responsible to identify the potential risk        21 the account of it in Dr. Najafi's report?
   22 of forming these genotoxic impurities even if it          22     A. I just read the account.
   23 was not, to quote you, obvious and easy to catch?         23     Q. Can you pull up the next exhibit, please?
   24     A. I don't know the answer to that question.          24 We're up to five now. We're going to put the
   25     Q. When you say that the FDA statements               25 warning letter in. Exhibit 5 dated November 29,

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                                                    Page 70                                                      Page 72
    1 2018.                                                    1     Q. 42.
    2    A. That's Exhibit 5?                                  2     A. 42. Which page of the document? So
    3    Q. Yes, that's what I'm told.                         3 there's a page number on the top of the document on
    4    A. Okay. I see it.                                    4 the right. You see that?
    5    Q. And you have never read this letter                5     Q. Yeah. It's page 4.
    6 before right now; right?                                 6     A. Page 4.
    7    A. I don't think so, no.                              7     Q. Sorry about that. I had a Post-it note
    8       MS. ROSE: Hold on, Adam. Sorry. I'm                8 over that.
    9 unable to see the exhibit.                               9         MS. ROSE: Just for clarification, I
   10       MR. SLATER: It's on the screen. Oh,               10 think the doctor was right. This Bates number ends
   11 you're saying in your --                                11 in 62.
   12       MS. ROSE: Yeah. Sorry. Give me one                12         MR. SLATER: It does? Oh, it must be a
   13 second.                                                 13 different version of it. Okay. Sorry. You know
   14       MR. SLATER: No problem.                           14 what? Multiple versions. So...
   15       MS. ROSE: I might have to reload it.              15         THE WITNESS: That's helpful.
   16       MR. SLATER: Hey, I can't criticize you,           16         MR. SLATER: Okay.
   17 'cause if somebody told me to go find it in chat or     17 BY MR. SLATER:
   18 whatever, I couldn't do it if you put a gun to my       18     Q. Doctor, I'll start over. Looking now at
   19 head, so...                                             19 page 4 of the warning letter, you see paragraph
   20       MS. ROSE: I have it now. Thank you.               20 number two titled Failure to -- rephrase.
   21       MR. SLATER: Okay.                                 21           Looking now at page 4 of the warning
   22 BY MR. SLATER:                                          22 letter, section two is titled, "Failure to evaluate
   23    Q. So Doctor, you can see this is the                23 the potential effect that changes in the
   24 November 29, 2018 warning letter that was issued.       24 manufacturing process may have on the quality of
   25 And it's actually written to Mr. Jun Du, executive      25 your API." Do you see that?
                                                    Page 71                                                      Page 73
    1 vice president of ZHP. Do you see that?                  1     A. I see that.
    2     A. Yes.                                              2     Q. This states, "In November 2011, you
    3     Q. And by the way, we talked earlier. Were           3 approved a valsartan API process change." And then
    4 you able to refresh yourself as to whether Jun Du        4 in parentheses PCRC-11025 -- "that included the use
    5 was the fourth person whose deposition you read?         5 of the solvent DMF. Your intention was to improve
    6     A. I think he was, yes.                              6 the manufacturing process, increase product yield,
    7     Q. If you go down to the second paragraph,           7 and lower production costs. However, you failed to
    8 it says, "This warning letter summarizes                 8 adequately assess the potential formation of
    9 significant deviations from current good                 9 mutagenic impurities when you implemented the new
   10 manufacturing practice, CGMP, for active                10 process, specifically, you did not consider the
   11 pharmaceutical ingredients, API." Do you see that?      11 potential for mutagenic or other toxic impurities
   12     A. Yes.                                             12 to form from DMF degradents, including the primary
   13     Q. Then you already told me you're not              13 DMF degradent dimethylamine." So I'm going to stop
   14 giving any opinions on good manufacturing               14 there. Do you see what I just read?
   15 practices; right?                                       15     A. Yes.
   16     A. Right.                                           16     Q. The information I just read to you you
   17     Q. Let's go to page, I think it's the fourth        17 were not aware of before I'm reading it to you
   18 page of this letter. The Bates number in the            18 right now; correct?
   19 bottom right is 42. It's paragraph number two.          19        MS. ROSE: Object to the form.
   20     A. Page on the right?                               20        THE WITNESS: I don't know if this has
   21     Q. Paragraph number two. It's the fourth            21 showed up in any of the testimony that Najafi and
   22 page in. I was referring to the Bates number, the       22 Hecht gave, but okay, let's say I wasn't aware of
   23 little numbers on the bottom right where the last       23 it, yes.
   24 two digits are 42.                                      24 BY MR. SLATER:
   25     A. Yeah, 62?                                        25     Q. You would agree that that statement by

                                                                                                  19 (Pages 70 - 73)
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                                                   Page 74                                                     Page 76
    1 the FDA is significant; right?                          1 think of it, they didn't do the investigation. So
    2         MS. ROSE: Object to the form. He's not          2 factually, I guess that sentence is probably true.
    3 a regulatory expert, and said he can't comment on       3 BY MR. SLATER:
    4 the FDA.                                                4     Q. You said if they thought of it, they
    5         THE WITNESS: So this is another example         5 would have investigated it. Wouldn't the truer
    6 of a hindsight, Monday morning quarterbacking           6 statement be if they thought of it, they would have
    7 comment, okay? So everybody knows after the fact        7 been required to investigate it?
    8 where this -- there was a mutagenic and what it was     8        MS. ROSE: Object to the form.
    9 and where it came from. So when they say you did        9 BY MR. SLATER:
   10 not consider the potential for mutagenic               10     Q. Let me ask it differently. If ZHP had
   11 impurities, it's -- it didn't -- it's -- it didn't     11 realized the potential for mutagenic or other toxic
   12 present itself as something to consider. It's not      12 impurities to form from DMF degradents, including
   13 that they didn't consider it. It never presented       13 the primary DMF degradent dimethylamine, they would
   14 itself as something you should consider. So it         14 have been required to investigate it; correct?
   15 still doesn't change my opinion.                       15        MS. ROSE: Object to the form. Outside
   16 BY MR. SLATER:                                         16 the scope.
   17     Q. You disagree with the statement by the          17        THE WITNESS: I believe it's both. They
   18 FDA that ZHP failed to adequately assess the           18 would have done it, and they would have been
   19 potential formation of mutagenic impurities when       19 required to do it. They would have wanted to do
   20 they implemented the new process, or is that beyond    20 it, and they would have been required to do it.
   21 the scope of your opinion?                             21 Both.
   22         MS. ROSE: Object to the form.                  22 BY MR. SLATER:
   23         THE WITNESS: Yeah, I mean, it has to be        23     Q. You don't know whether they -- whether
   24 beyond the -- I don't agree -- it's beyond -- it's     24 ZHP actually did evaluate that question at any
   25 really beyond the scope, because I don't know          25 point before June 2018; right?
                                                   Page 75                                                     Page 77
    1 exactly what they did inside of ZHP to -- for the    1    A. I do not.
    2 assessment. But it's -- it's beyond the scope,       2    Q. You agree with me that the primary DMF
    3 let's just say that.                                 3 degradent is dimethylamine? You agree with me on
    4 BY MR. SLATER:                                       4 that as a chemist; right?
    5     Q. This states in the next sentence, "You        5    A. I guess there's really two. If you're
    6 did not consider the potential for mutagenic or      6 going to have dimethylamine around, you're going to
    7 other toxic impurities to form from DMF degradents, 7 have CO as well, and formic acid. So there's both.
    8 including the primary DMF degradent,                 8    Q. In your work over all the years that
    9 dimethylamine." Do you see that?                     9 you've been a process chemist, did you ever work
   10     A. Yes.                                         10 with DMF?
   11     Q. You have no reason to dispute that           11    A. All the time.
   12 factual statement by the FDA; correct?              12    Q. And were you aware that the DMF could
   13         MS. ROSE: Object to the form.               13 include as an impurity dimethylamine?
   14         THE WITNESS: So are you saying I don't      14    A. I might have encountered that over the
   15 dispute the fact of that statement?                 15 years, but it never enters into my mind when I
   16 BY MR. SLATER:                                      16 suggest DMF as a solvent. I never think of it.
   17     Q. You have no basis to dispute that factual    17    Q. That's your personal practice; correct?
   18 statement by the FDA which they made after doing an 18    A. And all the people I worked with.
   19 inspection at ZHP; correct?                         19    Q. When you worked with DMF, did you
   20         MS. ROSE: Object to the form.               20 familiarize yourself with the potential impurities
   21         THE WITNESS: I really can't answer that,    21 that DMF could introduce to a manufacturing
   22 because I don't know what they considered, but --   22 process?
   23 so you have to infer -- I would infer that if they  23    A. When I did --
   24 thought of that happening, they would have          24    Q. When you worked with DMF, did you
   25 investigated it. So they -- because they didn't     25 familiarize yourself with the potential impurities

                                                                                                20 (Pages 74 - 77)
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                                                   Page 78                                                      Page 80
    1 that the DMF could introduce to the manufacturing       1    Q. And you see where the FDA pointed out
    2 process?                                                2 that ZHP was required to ensure that unanticipated
    3     A. No.                                              3 impurities were appropriately detected and
    4     Q. In all the time that you worked with DMF,        4 controlled. Do you see that statement?
    5 did you ever introduce DMF into a manufacturing         5         MS. ROSE: I'm sorry, are you reading
    6 process where it would come into contact with           6 from the document, Adam?
    7 sodium nitrite or nitrous acid?                         7         MR. SLATER: Yes.
    8     A. No. I don't believe --                           8         THE WITNESS: Show unanticipated were
    9     Q. Have you ever or just --                         9 probably detected. Yeah, I see that statement.
   10        MS. ROSE: I'm sorry, Adam. The witness          10 BY MR. SLATER:
   11 wasn't done answering.                                 11    Q. Your -- I think -- you can tell me if
   12 BY MR. SLATER:                                         12 this is outside the scope of your opinion -- but
   13     Q. Not trying to interrupt. Go ahead.              13 you're not disagreeing with the FDA that ZHP was
   14     A. I can't remember the last -- I think the        14 required to ensure that unanticipated impurities
   15 last time I worked with sodium nitrite was 40 years    15 were appropriately detected and controlled? You
   16 ago in graduate school. Over 40 years ago. Almost      16 don't disagree with that; right?
   17 never use it, not in pharmaceutical industry.          17         MS. ROSE: Object to the form.
   18     Q. Was that deliberate in the sense of             18         THE WITNESS: I don't see how you can
   19 trying to avoid a risk, or was it just that's how      19 possibly do that. If you're not anticipating it
   20 it went?                                               20 and you don't know what you're looking for, how
   21     A. That's just how it went. It just wasn't         21 could -- how could you logically develop a method?
   22 a reagent that pharmaceutical chemists use. I          22 BY MR. SLATER:
   23 think the raw material suppliers that supply our       23    Q. Let's go to the next sentence. The FDA
   24 materials may use it, but we don't use it very         24 said, "You are responsible for developing and using
   25 much.                                                  25 suitable methods to detect impurities when
                                                   Page 79                                                      Page 81
    1     Q. Why not? Why not use sodium nitrite?             1 developing and making changes to your manufacturing
    2     A. Because the kind of chemistry we do, it          2 processes." I want to stop there.
    3 doesn't call for the use of -- of sodium nitrite.       3          You see, that's the FDA's view is that
    4 It's just not -- it's not -- we don't need it for       4 that was required. You can see the FDA says that;
    5 the synthesis.                                          5 right?
    6     Q. So that wasn't something that you had            6     A. Yes.
    7 experience with in your active work; correct?           7     Q. Is that outside the scope of your opinion
    8     A. That wasn't something that I had what? I         8 in terms of whether that was required and how that
    9 could probably turn the sound up a little bit.          9 applied to ZHP?
   10     Q. That's okay. So you did not have                10     A. You know, when I read that, I -- I -- I
   11 experience with the use of sodium nitrite in the       11 read that as they had methods in place and they
   12 processes that you worked with; correct?               12 were using them to detect impurities. So I don't
   13     A. That's correct.                                 13 know -- I just don't know how you can expect them
   14     Q. Just as a basic chemistry -- I'll come          14 to come up with a method to detect something they
   15 back to that. Let's go back to the warning letter,     15 don't know is there. I just don't know how that's
   16 okay?                                                  16 practical -- how that's practical guidance.
   17     A. Okay.                                           17     Q. You're not offering opinions in terms of
   18     Q. Second paragraph under heading number two       18 the risk assessment? You already told me that;
   19 says, "You also failed to evaluate the need for        19 right?
   20 additional analytical methods to ensure that           20     A. Yes.
   21 unanticipated impurities were appropriately            21     Q. Do you have an opinion or is it outside
   22 detected and controlled in your valsartan API          22 the scope of your expertise as to whether the FDA
   23 before you approved the process change." Do you        23 is correct that ZHP was responsible for developing
   24 see what I just read?                                  24 and using suitable methods to detect impurities
   25     A. Yes.                                            25 when developing and making changes to their

                                                                                                 21 (Pages 78 - 81)
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                                                    Page 82                                                   Page 84
    1 manufacturing processes?                                 1 would -- you know, you might have got them,
    2     A. It's outside of my scope. But my opinion          2 but -- okay, let's just say it was -- as conducted,
    3 is they were responsible, and they did it.               3 it was not capable. Yes, actually, I don't think
    4     Q. Well, you told me you don't know what             4 it was capable. I don't think --
    5 they did, actually; right?                               5     Q. -- quenching; right?
    6     A. Well, I know they used the methods from           6     A. Say that --
    7 the monograph. What's that called, the US -- I           7     Q. -- process did not use sodium nitrite --
    8 know they did -- they had a method from the USP          8     A. No, it did not. It did not. So it was
    9 monograph. And they used it to detect impurities.        9 not capable of performing nitrosamines.
   10     Q. Did you read --                                  10     Q. It was not capable of producing
   11     A. I know they -- sorry. I know they did            11 nitrosamines; correct?
   12 that much.                                              12     A. Correct, unless you added that in.
   13     Q. Did you read the USP monograph?                  13     Q. And then ZHP added sodium nitrite to the
   14     A. No, I didn't.                                    14 next processes that they developed, including the
   15     Q. You don't have an opinion as to whether          15 zinc chloride process; right?
   16 or not they complied with the USP; correct?             16     A. That --
   17        MS. ROSE: Object to the form.                    17        MS. ROSE: Object to the form.
   18 BY MR. SLATER:                                          18        THE WITNESS: That's correct.
   19     Q. That's outside the scope of your opinion;        19 BY MR. SLATER:
   20 correct?                                                20     Q. That was a change to the manufacturing
   21     A. You know, I have an -- I think they              21 process; right?
   22 followed the USP, but I don't -- didn't look at it.     22     A. Yes.
   23 I don't know exactly what they did. I think they        23     Q. And the addition of DMF was another
   24 were following USP.                                     24 change to the manufacturing process that was added
   25     Q. Do you know what the USP required where          25 to the zinc chloride process; right?
                                                    Page 83                                                   Page 85
    1 ZHP changed the manufacturing process in terms of   1    A. Yes.
    2 what ZHP was required to do at that point to test   2    Q. And you can see that the FDA in the
    3 for potential impurities? Do you know what the USP 3 second paragraph, under heading number two, talks
    4 required?                                           4 about what the obligations of ZHP were when they
    5     A. No.                                          5 made changes to the manufacturing process. That's
    6        MS. ROSE: Object to form.                    6 what they're talking about there; right?
    7        THE WITNESS: Oh. Sorry. No, I do not.        7    A. Yes.
    8 BY MR. SLATER:                                      8    Q. And in terms of what ZHP was expected to
    9     Q. So you don't know what standard would        9 do in order to try to anticipate potential
   10 apply; correct?                                    10 impurities, you're not in a position to tell us
   11     A. That's correct.                             11 what they were expected to do or what standards
   12     Q. Do you understand what the chronology was 12 applied; right?
   13 of the various manufacturing processes that were   13        MS. ROSE: Object to the form. Outside
   14 used by ZHP to manufacture valsartan API were?     14 the scope.
   15     A. Do I understand the chronology?             15        THE WITNESS: Yeah, I can't really tell
   16     Q. Yeah. Do you understand that there were     16 what they were expected. I don't really know
   17 several processes that were used in iteration?     17 the -- the regulatory requirements.
   18     A. Yes.                                        18 BY MR. SLATER:
   19     Q. Do you understand that the first process    19    Q. For example, you don't know what the
   20 was called the tribunal team process?              20 regulatory requirements were for the level of
   21     A. Yes.                                        21 scientific analysis ZHP was expected and required
   22     Q. Do you understand that process was not      22 to perform in this context? You don't know that
   23 capable of creating nitrosamines?                  23 and you didn't apply that; correct?
   24     A. I wouldn't say it was not capable. If       24    A. Yeah, that's correct.
   25 you use sodium nitrite in the quench, you          25    Q. Looking at this second paragraph, the

                                                                                                22 (Pages 82 - 85)
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                                                    Page 86                                                      Page 88
    1 last sentence of this second paragraph says, "If         1 complied with.
    2 new or higher levels of impurities are detected,         2 BY MR. SLATER:
    3 you should fully evaluate the impurities and take        3     Q. Based on your knowledge?
    4 action to ensure the drug is safe for patients."         4     A. Based on -- yeah, based on common sense.
    5 Do you agree with that statement, or is that             5 How can you -- how -- what are you supposed to
    6 outside the scope of your opinion?                       6 do -- what -- there's no reference to any
    7     A. I agree with that -- that statement, but          7 guidelines that you should follow that will help
    8 it is outside the scope.                                 8 you determine unanticipated unknowns. There's
    9     Q. Let's look at the third paragraph. The            9 no -- there's no reference to anything like that.
   10 FDA says, in the third paragraph here on page 4,        10     Q. If ZHP could have known that the DMF
   11 "Your response states that predicting NDMA              11 could introduce dimethylamine either as an impurity
   12 formation during the valsartan manufacturing            12 of the DMF and/or as a degradation product of the
   13 process required an extra dimension over current        13 DMF in the process, then you would agree ZHP had to
   14 industry practice, and that your process                14 take that into account; right?
   15 development study was adequate. We disagree.            15        MS. ROSE: Object to the form. Improper
   16           "We remind you that common industry           16 hypothetical.
   17 practice may not always be consistent with CGMP         17        THE WITNESS: So the introduction of
   18 requirements, and that you are responsible for the      18 dimethylamine is not the same as the introduction
   19 quality of drugs you produce."                          19 of NDMA. So you have to -- when he talks about
   20           Do you see what I just read?                  20 extra dimension here, there's actually two
   21     A. Yes.                                             21 dimensions, right? You have to recognize -- and
   22     Q. In your report you referred to industry          22 dimethylamine is going to form, and then you have
   23 practice several times; right?                          23 to recognize dimethylamine is going to react with
   24     A. Yes.                                             24 sodium nitrite to form NDMA. You have to recognize
   25     Q. And when you talked about industry               25 those two things. So recognizing one alone is not
                                                    Page 87                                                      Page 89
    1 practice, you were basing that on your own               1 enough to raise a red flag.
    2 experience and the work that you did in your own         2            And I know in the depositions and
    3 labs; correct?                                           3 the reports, you know, the red flag goes up, the
    4        MS. ROSE: Object to the form.                     4 alarm bells are going off, NDMA is forming, NDMA is
    5        THE WITNESS: Yes.                                 5 forming. That's not true. That is simply not
    6 BY MR. SLATER:                                           6 true. And I gotta take a bathroom break
    7     Q. You didn't do a study or analysis of what         7 after -- after saying that. I'll be right back.
    8 other people were doing or what was being done           8        MR. SLATER: Go ahead. We'll wait here
    9 across the industry, you based it on your own            9 for you. We'll go off for a second and be right
   10 experience in your own work; correct?                   10 here.
   11     A. Yes.                                             11        THE VIDEOGRAPHER: We're off the record
   12     Q. Now, seeing that the FDA disagreed that          12 at 11:57 a.m.
   13 pointing to current industry practice is adequate       13               (Break taken.)
   14 as a defense due to the failure to do this type of      14        THE VIDEOGRAPHER: We're back on the
   15 analysis, do you agree or disagree with the FDA, or     15 record at 12:05 p.m.
   16 is that outside the scope of your opinion?              16 BY MR. SLATER:
   17        MS. ROSE: Object to the form.                    17     Q. We were talking about dimethylamine. So
   18        THE WITNESS: It's outside the scope.             18 I want to ask you a few questions about that, okay?
   19 But again, as I said before, I don't see how you        19     A. Sure.
   20 could practically comply with that. We remind you       20     Q. Do you know what dimethylamine is?
   21 that common industry practice may not always be         21     A. I know the chemical structure of it, yes.
   22 consistent with the GMP requirements. So then           22 I know what it is.
   23 what -- what are you supposed to do? There's no         23     Q. What is it? Just how would you describe
   24 guidance there as to what you are supposed to do.       24 it?
   25 So it's -- it's a statement that really can't be        25     A. I would describe it as ammonia with two

                                                                                                  23 (Pages 86 - 89)
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                                                     Page 90                                                  Page 92
    1 methyl groups on it.                                      1 process. You at least would have needed to know
    2    Q. It's known as a secondary amine?                    2 that to take it into account; correct?
    3    A. It's a secondary amine, yes.                        3        MS. ROSE: Object to the form, and
    4    Q. Did you learn -- when did you first learn           4 misstates the testimony.
    5 what DMA was?                                             5        THE WITNESS: So unless I saw a peak, a
    6    A. I've probably -- it's not -- it's not a             6 peak on a chromatogram to rise from dimethylamine
    7 commonly used reagent, okay? It boils at                  7 interacting with my substrate, I would never -- I
    8 seven -- it boils below room temperature. So you          8 would never think about it as being a problem. I
    9 don't really use it for much. But dimethylamine,          9 have to see a peak to flag me. It's called
   10 you know, people use. So I've known about it             10 a -- what would I call that? Instigation. Or it's
   11 probably since undergrad. You know, over 50 years.       11 a -- you just -- I have to see a peak. That's the
   12    Q. I think you said before -- you can                 12 triggering event, okay? That's the word. I see a
   13 correct me if I'm wrong -- that when you worked          13 peak, it's my triggering event. If I don't see a
   14 with DMF, you would have been aware that DMA can be      14 peak, I'm not thinking about it.
   15 an impurity of DMF. It's actually one of the two         15 BY MR. SLATER:
   16 primary impurities of DMF; correct?                      16     Q. In the entire time you worked with DMF,
   17        MS. ROSE: Object to the form.                     17 though, you were aware -- I think you said this
   18        THE WITNESS: Yeah, that's not exactly             18 earlier -- that DMA was a potential impurity or
   19 what I said. I mean, you asked me if that would be       19 degradent of the DMF? You at least told me you
   20 a contaminant.                                           20 were aware of that; correct?
   21 BY MR. SLATER:                                           21        MS. ROSE: Object to the form. Misstates
   22    Q. That's not what I asked, but --                    22 testimony.
   23    A. What did you --                                    23        THE WITNESS: I might have -- I might
   24    Q. I'm not trying to cut you off, but this            24 have heard of it and I -- I forgot about it. I
   25 is what I asked you.                                     25 mean, it's one of those factoids, it just
                                                     Page 91                                                  Page 93
    1     A. Okay. Yeah, let me -- let me -- I need             1 doesn't -- doesn't stay unless it's continuously
    2 to hear that again. Sorry.                                2 reinforced.
    3     Q. Would you -- and I'll try to ask it the            3 BY MR. SLATER:
    4 same way I asked it before, but I'm going to add in       4    Q. Am I correct that when you used DMF, you
    5 the information you gave me in the answer so I can        5 never did any independent research into the
    6 make it more correct.                                     6 potential impurities or degradents of DMF?
    7     A. Okay. That's fine.                                 7    A. No. If I used it and it worked in my
    8     Q. You mentioned formic acid when I asked             8 reaction, I didn't look at the degradents. But you
    9 the question.                                             9 also have to be aware that everything that people
   10          Would you agree with me that the two            10 use is less than a hundred percent pure. Every
   11 primary DMF impurities/degradents are dimethylamine      11 single agent is less than a hundred percent pure,
   12 and formic acid?                                         12 and every single reaction doesn't give exactly one
   13        MS. ROSE: Object to the form.                     13 thing. So that's just common everyday occurrence.
   14        THE WITNESS: Yes. I mean, I've                    14    Q. You would agree with me that anybody
   15 done -- I'm looking at this now for six weeks, so,       15 working at ZHP should have been aware of what you
   16 yeah, I know that. And if you're sitting there           16 just said; right?
   17 having a discussion with me at the coffee table, I       17        MS. ROSE: Object to the form.
   18 would say that. But I would never pick up a bottle       18        THE WITNESS: Yeah, I think chemists -- I
   19 of DMF and think those things are in there.              19 think chemists generally know their materials are
   20 BY MR. SLATER:                                           20 not a hundred percent pure and their reactions
   21     Q. You agree with me, 'cause you talked to           21 don't go to a 100.0 percent either.
   22 me about the importance of being aware of potential      22 BY MR. SLATER:
   23 impurities, that when you worked with DMF, you were      23    Q. If ZHP was aware of the potential that
   24 at least aware that that could potentially               24 the DMF could introduce dimethylamine into the zinc
   25 introduce dimethylamine into the manufacturing           25 chloride process, do you have any opinions as to

                                                                                                24 (Pages 90 - 93)
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    1 what they needed to do in response to that, or is          1     A. If they had a reason to search for it,
    2 that outside the scope of your opinion?                    2 they -- it was available. Yes, it was -- it's
    3        MS. ROSE: Object to the form. Improper              3 published with dates and page numbers. Yes, it was
    4 hypothetical.                                              4 available if you wanted to find it. If you -- if
    5        THE WITNESS: That's outside the scope.              5 you were looking for it.
    6 BY MR. SLATER:                                             6     Q. If you were looking for information about
    7     Q. And it would be the same answer if I were           7 dimethylamine and how it might react with sodium
    8 to add into my hypothetical that ZHP, in the event         8 nitrite, that information was available; correct?
    9 they knew that dimethylamine could potentially be          9     A. If you wanted to find it, yes.
   10 introduced to the process, either as an impurity or       10     Q. And if you wanted to find information
   11 as a degradent of the DMF, and that they were using       11 about what are the potential impurities that could
   12 that in a process where it would be exposed to            12 be introduced by using DMF, you agree that
   13 sodium nitrite or nitrous acid, what they needed to       13 information was available if somebody looked for
   14 do in response to that, the answer would be the           14 it; correct?
   15 same, I assume, that's outside the scope of your          15        MS. ROSE: Object to the form.
   16 opinion in terms of what they needed to do with           16        THE WITNESS: Yes.
   17 that information?                                         17 BY MR. SLATER:
   18        MS. ROSE: Object to the form.                      18     Q. And that would include that if somebody
   19        THE WITNESS: Yeah. I mean, I guess                 19 wanted to research that issue of what -- rephrase.
   20 that's outside -- yeah, it's outside the scope.           20           If somebody actually did research one
   21 BY MR. SLATER:                                            21 of the potential impurities that could have been
   22     Q. Did you see literature among the                   22 introduced into the manufacturing process when we
   23 materials you were provided by counsel indicating         23 use DMF, you would agree that if somebody wanted to
   24 whether there was knowledge in the chemistry              24 look at that question, that they could have learned
   25 community that the combination of dimethylamine and       25 that one of those impurities that could have been
                                                      Page 95                                                      Page 97
    1 sodium nitrite could create NDMA? Did you see any 1 introduced was dimethylamine? That was available
    2 literature in the materials you reviewed indicating  2 information in the literature; correct?
    3 that?                                                3        MS. ROSE: Object to the form. Improper
    4     A. Yes.                                          4 hypothetical.
    5     Q. For example, did you see in the IARC          5        THE WITNESS: Yes, it was available.
    6 monograph on the evaluation of the carcinogenic      6 BY MR. SLATER:
    7 risk of chemicals to humans from the 1970s that the  7     Q. You agree with me that if ZHP wanted to
    8 IARC monograph indicated, "it has been known since 8 evaluate -- rephrase.
    9 1865 that the reaction of dimethylamine              9          Are you aware of when ZHP got
   10 hydrochloride with sodium nitrite at an acidic PH   10 any -- any notice from anybody, whether internal to
   11 is in nitrosamine dimethylamine." Did you see       11 the company or outside the company, that there were
   12 that?                                               12 peaks for the valsartan API manufactured by the
   13     A. Yes, I did.                                  13 zinc chloride process that were unidentified and of
   14     Q. And you would agree that the people at       14 concern? Do you know when ZHP first became aware
   15 ZHP would have been expected to know that; correct? 15 of that?
   16     A. No.                                          16     A. Yes. I saw that in the customer
   17     Q. And again, you're not able to tell us        17 complaints. And I can't remember if that was in
   18 what, from a regulatory standpoint, ZHP's people    18 Najafi's report. I think it was. And I think the
   19 were supposed to do to evaluate the potential       19 first one was probably 2014, and then 2015, 2016.
   20 reactions in the process? That's not something      20 Those are peaks in the GCFID trace, the residual
   21 you're giving opinions on; right?                   21 solvent trace, yes.
   22     A. I'm not giving opinions on that.             22     Q. I didn't see any discussion in your
   23     Q. Do you agree with me that the information    23 report about what ZHP did or did not do with regard
   24 I just read to you was available to scientists in   24 to the peaks showing on chromatography. I didn't
   25 2011 if they wanted to consult it?                  25 see any opinions on that. Am I correct that's not

                                                                                                    25 (Pages 94 - 97)
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                                                  Page 98                                                   Page 100
    1 something you're opining on?                           1 capabilities included an LCMS machine for mass
    2        MS. ROSE: Object to the form.                   2 spectrometry and Ajilent, A-J-I-L-E-N-T, 1100, and
    3        THE WITNESS: No. But, I mean, I -- from         3 a GCMS Ajilent 7890A? Did you see that --
    4 the deposition testimony I kind of -- I kind of        4     A. No.
    5 know what happened there.                              5     Q. -- in the materials you reviewed?
    6 BY MR. SLATER:                                         6     A. No.
    7     Q. What I'm asking is -- you know what             7     Q. You would agree with me that if ZHP
    8 happened, but -- and I think you just                  8 wanted to utilize GCMS or LCMS going back to 2011,
    9 confirmed -- you're not offering any opinions about    9 that technology was available and could have been
   10 what ZHP should or shouldn't have done in response    10 used by them; correct?
   11 to those peaks; right?                                11         MS. ROSE: Object to the form.
   12        MS. ROSE: Object to form.                      12         THE WITNESS: Yes, it was available. But
   13 BY MR. SLATER:                                        13 I remember from the Hecht deposition the question
   14     Q. I didn't see any discussion of that in         14 came up of how many USP monographs there are and
   15 your report.                                          15 how many compounds in that monograph use GCMS as a
   16     A. I didn't put any discussion in my report,      16 tool for residual solvent analysis, and it was
   17 but they responded to those requests.                 17 something like four -- four compounds in the
   18     Q. You're not offering any opinions about         18 monograph out of 5,000 actually used GCMS. It's a
   19 whether what they did was adequate or not? That's     19 very rarely used tool for residual solvents,
   20 not something you've opined on; correct?              20 especially in that timeframe.
   21        MS. ROSE: Object to the form.                  21            So it's unreasonable to expect
   22        THE WITNESS: No, I didn't put anything         22 somebody to use a tool that's used one in a
   23 in my report. But I should -- I'll leave that one     23 thousand times to pull that off the shelf and let's
   24 up to -- I mean, my understanding was the customers   24 try it here and see what happens. That's just
   25 were satisfied with their response.                   25 a -- not a likely or plausible scenario.
                                                  Page 99                                                   Page 101
    1 BY MR. SLATER:                                       1 BY MR. SLATER:
    2     Q. But just to be clear, that's not              2     Q. Are you aware that before June 2018, ZHP
    3 something you offered any opinions on in your        3 was using GCMS and LCMS technology to evaluate
    4 report about whether ZHP did an adequate evaluation 4 impurities in their drug substance?
    5 of those unidentified peaks or not? That's not       5        MS. ROSE: Object to the form.
    6 something that's addressed in your report at all;    6        THE WITNESS: You know, yeah, I guess
    7 correct?                                             7 from reading Min Li's deposition, that CEMAT --
    8     A. Yeah, that's not in my report.                8 CEMAT group that he built, I believe he bought --
    9     Q. You do agree with me that GCMS and LCMS 9 he bought those instruments to look at -- to look
   10 technology was available to ZHP throughout the time 10 at impurities in the new products they were
   11 that they were manufacturing and selling the        11 developing, not going back retrospectively to look
   12 valsartan API; correct?                             12 at existing products.
   13     A. So from Min Li's deposition, I got it        13 BY MR. SLATER:
   14 that the first LCMS was purchased at ZHP in 2013. 14       Q. The technology was available for whatever
   15 So I don't think it was available while they were   15 purpose somebody wanted to use it for; correct?
   16 doing the process work.                             16        MS. ROSE: Object to form.
   17     Q. We have a PowerPoint which I can show        17        THE WITNESS: Yes.
   18 you.                                                18 BY MR. SLATER:
   19        MR. SLATER: Can we pull it up, Chris?        19     Q. And you're aware that one of the uses for
   20 You know which one I'm talking about? All right.    20 a GCMS machine is if you see a peak on regular gas
   21 We'll come back to it then.                         21 chromatography and you can't identify it, GCMS
   22 BY MR. SLATER:                                      22 technology can be used to actually identify what
   23     Q. Let me ask you if you've seen this. Have     23 that peak is? That's one of the common uses of
   24 you seen a PowerPoint from ZHP dated August 23, 24 GCMS technology; right?
   25 2012 indicating that their research and development 25     A. Right. But things that are below the

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                                                    Page 102                                                   Page 104
    1 reporting threshold you're not going to focus on.         1        MS. ROSE: Object to the form.
    2 Those are going to be below the level at which you        2 BY MR. SLATER:
    3 work on them. And below the -- the identification         3     Q. Let me ask the question differently.
    4 threshold would be a thousand PPM. So you would           4 Withdraw the question.
    5 use GCMS if something was below -- above a thousand       5          This area in terms of what they needed
    6 PPM, but you're -- you know, below 500 PPM, you           6 to look for, is this outside the scope of your
    7 don't have to report that.                                7 opinion?
    8      Q. Are you aware of the regulatory standards         8     A. Yes, it is.
    9 that indicated that certain genotoxic impurities          9     Q. Okay. In terms of whether or how they
   10 were of such concern due to their toxicity that the      10 should have used the technology, that's not
   11 threshold did not apply to them?                         11 something you're opining on, but you'll agree with
   12          MS. ROSE: Object to the form.                   12 me the technology, GCMS and LCMS, was available to
   13 BY MR. SLATER:                                           13 ZHP if it wanted to use that technology from 2011
   14      Q. Yes or no, were you aware of that?               14 all the way through? You'll agree with me on that
   15      A. So the issue there is you have to know a         15 statement; correct?
   16 peak is a genotoxic impurity. It's kind of a             16     A. According to the PowerPoint, they had
   17 catch-22. So if you don't -- if it's below 500 PPM       17 those instruments -- they're saying they had those
   18 and you don't know it's a genotoxic impurity,            18 instruments sometime in 2012. So from that point
   19 you're not going to identify it. You have to know        19 on, yes, they had them there.
   20 it's -- so you -- if you're using a genotoxic            20     Q. And the technology was available even
   21 impurity and you see it there, and -- so this is         21 before that if they chose to obtain it or get
   22 what the guidance actually says. If you see a            22 access to it whether they owned it themselves or
   23 genotoxic impurity and you're looking for it, you        23 not; right?
   24 see it, it's 50 PPM, you have to report that. But        24        MS. ROSE: Object to the form.
   25 there is a gap in the guidance for things below 500      25        THE WITNESS: Yes, the technology was
                                                    Page 103                                                   Page 105
    1 PPM and above the level of detection.                     1 available if you -- if you saw a need to use it.
    2     Q. Are you telling me there's a guidance you          2        MR. SLATER: Why don't we -- I think this
    3 can point to that says that if a cohort of concern        3 is a good time. You said you wanted to break
    4 substance, for example, an N-nitroso compound, has        4 around 12:30, and I think we're pretty much there,
    5 a peak, but you don't know that the peak is for the       5 rather than me jumping into another document. So
    6 nitrosamine, you don't have to try to figure out          6 let's go off.
    7 what that peak is for?                                    7        THE VIDEOGRAPHER: We're off the record
    8     A. No, that's not --                                  8 at 12:25 p.m.
    9     Q. -- ignore it because it's small?                   9               (Break taken.)
   10        MS. ROSE: Object to the form.                     10        THE VIDEOGRAPHER: We're back on the
   11 BY MR. SLATER:                                           11 record at 1:35 p.m.
   12     Q. Is that your testimony?                           12 BY MR. SLATER:
   13     A. That is not my testimony.                         13     Q. Doctor, I want to ask you a couple
   14     Q. Okay. That's what I was asking.                   14 questions about a 2017 e-mail that you reference on
   15        MS. ROSE: Can I just --                           15 page 6 of your report.
   16        MR. SLATER: Wait.                                 16     A. Okay.
   17        MS. ROSE: Dr. Thompson, please let                17     Q. Did you read that e-mail written by
   18 Mr. Slater finish his question before you give your      18 Dr. Jinsheng Lin?
   19 answer, and also allow me time to object so we can       19     A. I read the translation.
   20 spare the court reporter, please.                        20     Q. You state in your report, "It is
   21        THE WITNESS: All right.                           21 difficult to interpret this e-mail." Why did you
   22 BY MR. SLATER:                                           22 say that?
   23     Q. You're not suggesting that you need to            23     A. Yeah. I mean, so the e-mail, the body
   24 know the answer before you start to look for the         24 text and the patent that he references, is really
   25 answer; right?                                           25 about nitrosations of a sartan background -- of

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    1 nitrogen and a sartan background. So it's really         1 were uniformly the company didn't know. That's
    2 about nitrosations of the API or the deacylated          2 not -- that's not what he said. The company didn't
    3 API. So that's the whole topic. That's the               3 know. Uniformly, every time he was asked a
    4 attachment.                                              4 question about that e-mail, that's what his
    5           And then out of the blue comes this            5 response was. Every time. That's what I remember
    6 sentence, you know, similar to the NDMA found in         6 his response being. Yeah.
    7 valsartan. It's kind of a non -- it's a non              7 BY MR. SLATER:
    8 sequitur. So, I mean, quite honestly, I thought it       8    Q. You don't recall in the deposition of Min
    9 was poorly interpreted. I just thought my                9 Li when I walked through with him the entire e-mail
   10 interpretation was wrong, and that those words          10 and what it said?
   11 weren't right -- weren't a perfect interpretation       11    A. So, you know, I can't -- I don't recall
   12 of what was written in the e-mail.                      12 every word that was said, but my general impression
   13           And, you know, I don't have much of a         13 of what he said -- I looked back at it recently, a
   14 basis for saying that. It's just that it's -- it's      14 day or two ago, and generally what he was saying is
   15 just a non sequitur. There's no backup data in          15 the company did not know. Every time he was asked
   16 addition to that one sentence. So I had a little        16 the company knew, and his response was the company
   17 difficulty with it.                                     17 did not know. It was this one guy who had a
   18           And then I guess I finally decided            18 theory.
   19 that the interpretation that probably fits all the      19    Q. Do you know what Jinsheng's -- I'm sorry.
   20 data is that he's trying to, you know, calibrate        20 Do you know what Jinsheng Lin's job was?
   21 this team. This is how important I see this issue       21    A. Again, I'm going to assume what it was.
   22 for the company. So it's similar to a situation         22 First of all --
   23 where we have NMDA in valsartan. You know,              23    Q. I'm asking if you know what his job was.
   24 that's -- that's where I put this issue in terms of     24    A. No, I do not. Oh, yes, he was -- he
   25 importance for things you should think about.           25 worked in the CEMAT group. He did something in the
                                                   Page 107                                                    Page 109
    1           So, you know, that's kind of the basis         1 CEMAT group.
    2 for that statement it's difficult to interpret.          2     Q. Do you know what he did in the CEMAT
    3    Q. You know, I assume you don't read or               3 group?
    4 write the Chinese language; is that correct?             4     A. Not exactly. Seemed like a bunch of
    5    A. I do not. I don't even take Chinese                5 things.
    6 cash.                                                    6     Q. Do you know that he was in charge of the
    7    Q. Did you read -- you mentioned                      7 group that was responsible to identify the root
    8 that -- rephrase.                                        8 causes of impurities seen in drug substance?
    9           You mentioned that you read two of the         9        MS. ROSE: Object to the form.
   10 days of Min Li's deposition. Do you recall if you       10        THE WITNESS: I assumed he was in that
   11 read the day where he was asked about this e-mail?      11 group, yeah, that identified impurities, yeah.
   12    A. Yeah, I did.                                      12 BY MR. SLATER:
   13    Q. Do you know who Min Li is?                        13     Q. And you understand that Min Li was the
   14    A. I don't know exactly his position at the          14 head of CEMAT; right?
   15 company. He's like a director of -- I think he's        15     A. Yes.
   16 the guy -- the top man in charge of the analytical      16     Q. Do you recall Min Li saying that he
   17 department at ZHP. That's what I think his job is.      17 doesn't recall seeing the e-mail because he gets a
   18    Q. Do you understand that he actually is the         18 lot of e-mails and he doesn't recall seeing it?
   19 person that Jinsheng Lin reported to?                   19     A. That's right, he did -- he did say that.
   20    A. Yes.                                              20 So then all --
   21    Q. And did you see that we asked Min Li              21     Q. I'm just asking if you remember him
   22 about the e-mail and he testified to what the           22 saying that.
   23 e-mail said?                                            23     A. Huh?
   24        MS. ROSE: Object to the form.                    24     Q. I'm just asking if you remember him
   25        THE WITNESS: Yeah, Min Li's responses            25 saying that.

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    1     A. Now that you bring it up, yes, I do              1 I just don't recall it.
    2 remember that, yes.                                     2 BY MR. SLATER:
    3     Q. Do you remember him confirming that as           3     Q. We're going to put up as the next
    4 part of the e-mail, the e-mail states that what was     4 exhibit -- what are we up to, six, now? Exhibit 6
    5 being seen in its irbesartan product they were          5 is going to be the e-mail, which is ZHP00190573,
    6 working with is similar to the NDMA that occurs in      6 which is listed in your list of materials reviewed
    7 valsartan when quenched with sodium nitrite?            7 as one of the documents that you reviewed.
    8        MS. ROSE: Object to the form. Are you            8     A. Okay.
    9 reading from a document?                                9        MS. ROSE: Is this Exhibit 7?
   10        MR. SLATER: I'm reading from the                10        MR. SLATER: This is I think six, I was
   11 translation that is cited in the reliance list by      11 told by Chris.
   12 your expert, by Dr. Thompson.                          12        MS. ROSE: Oh, apologies.
   13        MS. ROSE: Okay. You're asking --                13        MR. SLATER: I mean, we'll stand to be
   14        MR. SLATER: The question --                     14 corrected if it's seven, but...
   15        MS. ROSE: -- something he's not looking         15        MS. ROSE: No, it's fine. I have six. I
   16 at?                                                    16 thought seven -- I thought there was a seven that
   17        MR. SLATER: I'm not sure why that's             17 hadn't popped up yet. But I've got it at six.
   18 funny, but I'll continue. I'll ask a new question.     18 Okay, I got it.
   19        MS. ROSE: I wasn't --                           19 BY MR. SLATER:
   20        MR. SLATER: Let's --                            20     Q. First of all, you've read this; right?
   21        MS. ROSE: -- addressing anything as             21     A. Yes.
   22 funny.                                                 22     Q. Let's look -- looking at the first page
   23 BY MR. SLATER:                                         23 of the document -- let's go scroll -- perfect.
   24     Q. Let me ask you this, Doctor. New                24          In the first -- first paragraph you
   25 question.                                              25 can see it's written to someone saying -- someone
                                                  Page 111                                                    Page 113
    1          Do you remember Min Li testified to            1 named Jucai Ge. Do you see that?
    2 what the e-mail said?                                   2     A. Yes.
    3        MS. ROSE: Object to the form.                    3     Q. Do you know who that is?
    4 BY MR. SLATER:                                          4     A. So I didn't know -- you know, when I
    5    Q. Do you remember -- I'll ask it                    5 wrote the report, I didn't know. But then when I
    6 differently.                                            6 read the deposition, I could see Min Li describing
    7          Do you remember Min Li having the              7 who all these people were and what their job titles
    8 Chinese language version of the e-mail in front of      8 were.
    9 him, and walking through the e-mail and testifying      9     Q. It's people --
   10 to what it said? Do you recall that happening in       10     A. So I --
   11 his deposition?                                        11     Q. -- pretty high level people in the
   12    A. I remember reading that in the                   12 company; right?
   13 deposition. I don't remember every word of every       13     A. Yeah. That's why I thought it was kind
   14 response, but I remember that he was walking           14 of strange that he was writing a chemistry e-mail
   15 through it.                                            15 to all these executives with all this chemistry,
   16    Q. And do you recall that as part of that he        16 mass specs and reaction mechanisms, to all these
   17 agreed that the e-mail said words to the effect of     17 high level people, and none of them are chemists.
   18 that what was being seen in this irbesartan            18 I was like, that's a little odd. You know, I
   19 substance they were working with was similar to the    19 could -- I don't know if any of them actually read
   20 NDMA that occurs in valsartan as a result of the       20 it. But I looked at it and said this is not in my
   21 sodium nitrite quenching? Do you recall that was       21 wheelhouse and closed it. That's -- that's what I
   22 part of what he said the e-mail stated?                22 thought.
   23        MS. ROSE: Object to the form.                   23     Q. You thought none of these people were
   24        THE WITNESS: I don't exactly recall. I          24 chemists?
   25 don't exactly recall that. He might have said it.      25         MS. ROSE: Object to the form.

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                                                    Page 114                                                   Page 116
    1        THE WITNESS: I was -- I was -- I didn't            1 identified. You see an unknown peak. You figure
    2 know all eleven of them or how many of them. But          2 out what it is, and you work your way backwards to
    3 there was a QA person. There was a regulatory             3 how it happened. This is exactly an example
    4 affairs person that Min pointed out. There was            4 illustrating the process of impurity
    5 analytical people. It didn't mention the name of          5 identification. If you don't see a peak, you're
    6 one single chemist, synthetic chemist in process          6 blind. He saw a peak. He figured out where it
    7 chemistry on that list.                                   7 was. He figured out where it came from. And he
    8            It might have been 'cause I didn't             8 figured out what to do with the process to fix
    9 read every one, but I was surprised at their job          9 that.
   10 functions in relation to what this e-mail was            10 BY MR. SLATER:
   11 about. I was -- why would he send to those people.       11     Q. So an unknown peak, right, didn't know
   12 But, okay.                                               12 what it was at first, and then had to investigate
   13 BY MR. SLATER:                                           13 it; right?
   14     Q. Do you know what Min Li's background is?          14     A. Yeah, because he saw it. He saw it. It
   15     A. Min Li?                                           15 was there on the chromatogram. The biggest peak as
   16     Q. Yeah, Min Li. He's on the --                      16 well. It was -- it was -- that's the kind of thing
   17     A. Yeah, he's an -- he's an analytical               17 the FDA is saying in all their guidance. You see a
   18 chemist. Johns Hopkins. Then he went to Schering.        18 peak, you identify it. You don't ignore a peak.
   19 Then he went to Merck. He went back to Schering.         19 That's what they're saying in their guidance, and
   20 I saw that because my wife worked at Schering, I         20 that's what they did.
   21 worked at Merck. And then Merck acquired Schering,       21     Q. Coming back to the question I asked. I'm
   22 so he went back to Merck. Hey, got a pretty good         22 just asking. He saw an unknown peak and
   23 pedigree. Analytical chemistry.                          23 investigated it; correct?
   24     Q. In the first paragraph of this e-mail,            24     A. Yes.
   25 the last sentence says, "However, after the              25     Q. And then let's go to page 2. At the very
                                                    Page 115                                                   Page 117
    1 improvement there is an unknown impurity of about         1 top, he says, "Through the secondary mass
    2 0.544 percent at 26 minutes in the crude                  2 spectrometry analysis, it can be inferred that the
    3 irbesartan, and is the largest impurity in the            3 extra NO substituent is in the cyclic compound
    4 irbesartan crude product." Do you see that?               4 fragment, and it is very likely that it is an N-NO
    5      A. Yes.                                              5 compound." Do you see what I just read?
    6      Q. And then the next paragraph, the third            6    A. Yes.
    7 line -- the second and third line, he says, "Based        7    Q. So first of all, we know that he
    8 on the test results of these two days, currently it       8 evaluated this unknown peak using mass
    9 can be confirmed that the impurity is a nitroso           9 spectrometry; right?
   10 derivative of the irbesartan." Do you see that?          10    A. He had a trigger to do that evaluation,
   11      A. Yes.                                             11 yes.
   12      Q. So certainly by July 2017 we have                12    Q. I didn't ask you about a trigger, Doctor.
   13 documentation that ZHP was aware that in this            13    A. I answered your question. I said yes.
   14 process for developing a sartan, a nitroso compound      14    Q. Okay. Let me ask it again, and we'll
   15 was being produced? That's what this sounds,             15 just -- what I'm going to ask of you, to the best
   16 right?                                                   16 of your ability, is if you could try to answer just
   17        MS. ROSE: Object to the form.                     17 the question I ask and not talk about something
   18        THE WITNESS: This plays exactly into              18 else as well, 'cause I'll -- 'cause I'm going to
   19 how --                                                   19 keep coming back and we'll just make it go faster.
   20 BY MR. SLATER:                                           20 And as I told everybody, I cut out a bunch of stuff
   21      Q. I'm just asking if that's what it says,          21 before to try to move it along, but if we start to
   22 sir.                                                     22 now go through other things when I ask a question,
   23        MS. ROSE: Please let him explain his              23 I'm going to have to keep coming back. It'll take
   24 answer. He's answering your question.                    24 longer.
   25        THE WITNESS: This is how impurities are           25         MS. ROSE: Adam, please don't direct the

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    1 witness how to answer your question.                     1 I'm going to ask the question again.
    2        MR. SLATER: I think I was about to --             2        MS. ROSE: Okay. Please don't badger the
    3        MS. ROSE: He's answering --                       3 witness, Adam.
    4        MR. SLATER: -- not interrupting, Nina.            4        MR. SLATER: I'm not badgering him. I
    5 So, please.                                              5 think I've been as polite as possible. And I'm not
    6        MS. ROSE: Well, please don't direct the           6 going to ascribe any motives, but I'm just saying I
    7 witness or suggest to the witness that he's not          7 didn't ask if it was a quasi-ignorant statement,
    8 answering your question. He is answering your            8 so...
    9 question.                                                9 BY MR. SLATER:
   10        MR. SLATER: Okay. So if I ask what               10     Q. So let me ask it again. This says, in
   11 color the light was and somebody starts telling me      11 the next sentence, "It is similar to the
   12 about how a car drove, and then at the end says         12 N-nitrosodimethylamine that occurs in valsartan
   13 yeah, but the light was red, you think that's           13 when quenched with sodium nitrite, and its
   14 responsive? You don't have to answer that. But          14 structure is very toxic." That's what it says;
   15 that's what just happened. And I would appreciate       15 right?
   16 if we don't have that happen all day.                   16     A. Yes, that's what it says.
   17        MS. ROSE: Object to the                          17     Q. And as was stated a moment ago,
   18 characterization.                                       18 N-nitrosodimethylamine is NDMA; correct?
   19        MR. SLATER: I really will go to ten              19     A. Yes.
   20 o'clock if we're going to start this now.               20     Q. He says that the NDMA occurs in
   21        THE WITNESS: Okay. I'll do my best.              21 valsartan; right?
   22        MR. SLATER: Thank you. I appreciate it.          22     A. Yes.
   23 BY MR. SLATER:                                          23     Q. And he says it occurs in valsartan when
   24     Q. Looking at the top of page 2, one thing          24 quenched with sodium nitrite; correct? That's what
   25 we know is that this Dr. Lin in CEMAT in July of        25 the words on the page say; right?
                                                   Page 119                                                   Page 121
    1 2017 used mass spectrometry to identify an unknown 1      A. That's what the words on the page say.
    2 peak; correct?                                      2     Q. And you know, as you sit here right now,
    3        MS. ROSE: Object to the form. Already        3 that the NDMA that formed in the valsartan occurred
    4 asked and answered.                                 4 due to the sodium nitrite quenching. That's a
    5 BY MR. SLATER:                                      5 correct statement of the root cause; correct?
    6     Q. That's what happened; correct?               6     A. Yeah, I just -- it's just -- that
    7     A. Yes.                                         7 sentence is completely out of context with the rest
    8     Q. And he concluded it's very likely it is      8 of the e-mail.
    9 an N-NO compound, meaning a nitrosamine; correct? 9       Q. My question is this: The statement that
   10     A. Yes.                                        10 the NDMA occurs in valsartan when quenched with
   11     Q. He then states, "It is similar to the       11 sodium nitrite is an accurate statement and
   12 N-nitrosodimethylamine" -- and that's NDMA; right? 12 accurately states the root cause for the formation
   13     A. Yes, it is.                                 13 of NDMA in valsartan. You know that as you sit
   14     Q. -- "that occurs in valsartan when           14 here right now; correct?
   15 quenched with sodium nitrite, and its structure is 15     A. So --
   16 very toxic." That's what it states here; correct?  16        MS. ROSE: Object to the form.
   17     A. Yeah. I thought that was a                  17        THE WITNESS: -- my first impression when
   18 quasi-ignorant statement. But yes, that's what it  18 I read this was it was not -- the English --
   19 says.                                              19 whoever did the interpretation got it wrong. I
   20     Q. I have to ask the question again, 'cause    20 didn't believe those words. I see them there, but
   21 I didn't ask if it was a quasi-ignorant statement. 21 I don't -- I didn't believe them.
   22 So now I have to ask it again, Doctor.             22 BY MR. SLATER:
   23     A. I'm going to have to go to the bathroom.    23     Q. So your opinion is that those words just
   24     Q. I don't care. You can go to the bathroom    24 don't belong there and you can't explain where they
   25 as much as you want. But every time you do that,   25 come from, so you just are negating them and

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    1 setting them aside and not taking them into account  1 in the metadata that all these other people got it?
    2 in your opinion? That's a yes or no question.        2        MS. ROSE: Object to the form. Object to
    3        MS. ROSE: Object to the form.                 3 the characterization. Object to discussions of
    4 BY MR. SLATER:                                       4 discovery issues.
    5     Q. Do I understand you correctly?                5        MR. SLATER: Your objection is noted.
    6     A. I'm trying to get them to fit.                6 BY MR. SLATER:
    7     Q. Okay. Let me come back. The reason            7     Q. Can you answer the question, Doctor?
    8 you're having trouble getting them to fit is         8     A. Yeah, no one told me that. I didn't ask.
    9 because you can't believe that somebody at ZHP knew 9      Q. Okay. If -- all right. So let me come
   10 that there was NDMA in valsartan and what the root 10 back to what I actually was trying to ask you
   11 cause was in July of 2017, and nobody said anything 11 before we went down this side road.
   12 to the public about it? That's the problem you're   12          The statement that there's NDMA in
   13 having with this, is how could they know this and   13 valsartan, and the root cause is the quenching with
   14 not tell anybody? That's the issue; right?          14 sodium nitrite, is a true and accurate statement of
   15        MS. ROSE: Object to the form.                15 the root cause for the NDMA formation in the
   16        THE WITNESS: The issue is it's out of        16 valsartan. You know that as you sit here right
   17 context and there's no backup data. There's no      17 now; correct?
   18 data to support that. I respect data.               18        MS. ROSE: Object to the form.
   19 BY MR. SLATER:                                      19        THE WITNESS: That's what -- yeah, that's
   20     Q. Did you ask the lawyers who retained you,    20 what the deviation investigation says, and that's
   21 hey, what's the background behind this document?    21 the theory, yes.
   22 Did you ask them that question?                     22 BY MR. SLATER:
   23     A. We talked about it a little -- yes.          23     Q. And you agree with that; right?
   24     Q. Okay. Did you know or did you learn that     24     A. Yes.
   25 this document was produced to us as a PDF off of    25     Q. So it's not just that he said there's
                                                  Page 123                                                  Page 125
    1 Min Li's laptop, and that nobody else who received      1 NDMA in valsartan, he actually noted the root cause
    2 it was listed as a duplicate custodian, suggesting      2 for it; correct?
    3 that we were never supposed to see the document?        3         MS. ROSE: Object to the form.
    4 Were you aware of that?                                 4         THE WITNESS: Yeah. And I heard his boss
    5        MS. ROSE: Object to the form. Object to          5 say nobody at the company knew in the deposition.
    6 the characterization.                                   6 BY MR. SLATER:
    7 BY MR. SLATER:                                          7     Q. What you heard the boss say is I don't
    8     Q. I'm asking if you were aware of that,            8 remember seeing the e-mail. That's what you
    9 that that's what we're asserting in this litigation     9 remember him saying under oath; right?
   10 and have asserted in open court.                       10         MS. ROSE: Object to the form.
   11     A. So I don't know what --                         11         MR. SLATER: Why are you objecting?
   12     Q. Is that yes or no?                              12         MS. ROSE: You're putting words --
   13     A. I don't know what a duplicate custodian         13         MR. SLATER: What's the basis for that
   14 means. I don't know what that term means.              14 objection?
   15     Q. Duplicate custodian means that every            15         MS. ROSE: You're misstating his prior
   16 single person that received this e-mail -- and we      16 testimony completely.
   17 talked about the long list before -- every one of      17         MR. SLATER: No, I'm not.
   18 them, when it was produced to us, there's something    18 BY MR. SLATER:
   19 called metadata, and it's supposed to list every       19     Q. You can go ahead, Doctor.
   20 person that got it so that we know, okay, we didn't    20     A. Two different things. They didn't see
   21 produce it ten times to you, but it went to all        21 the e-mail. No one at the company knew. He didn't
   22 these people and was in their files when the           22 have to see the e-mail to know that no one at the
   23 documents were produced.                               23 company knew.
   24          Did anybody ever tell you that, that          24     Q. Did it ever occur to you --
   25 they were -- it actually was never disclosed to us     25     A. -- putting those two together.

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                                                  Page 126                                                  Page 128
    1     Q. Okay. Rephrase. When you were                    1 withdraw that.
    2 evaluating this e-mail, did it occur to you that        2           You have no information, no basis to
    3 maybe the people at ZHP didn't want to admit under      3 say that that phrase in that sentence that we're
    4 oath that there were people in the company that         4 talking about, "It is similar to
    5 knew there was NDMA in valsartan in July of 2017?       5 N-nitrosodimethylamine that occurs in valsartan
    6 Did that occur to you that maybe they didn't want       6 when quenched with sodium nitrite, and its
    7 to admit that they knew about this and didn't tell      7 structure is very toxic," you have no basis to say
    8 the world because of how massive of a regulatory        8 that that sentence was not intended to be in this
    9 violation that would be?                                9 e-mail; correct?
   10         MS. ROSE: Object to form.                      10     A. The basis I have is that it's a non
   11 BY MR. SLATER:                                         11 sequitur with all the other topics.
   12     Q. I just want to know if you took into            12     Q. Isn't it possible that this person who
   13 account that possible explanation.                     13 was an expert at evaluating impurities in drug
   14     A. If I took that into account, I                  14 substance was comparing this impurity he was seeing
   15 wouldn't -- I wouldn't use it because it's a total     15 in this irbesartan substance to an impurity he knew
   16 speculation on their behavior that I have no reason    16 existed in valsartan? That's possible; right?
   17 to -- no basis to support.                             17     A. He would be comparing it to impurity K,
   18     Q. Well, you're speculating that                   18 not to NDMA.
   19 this -- that this sentence just somehow magically      19     Q. He doesn't say impurity K. He says NDMA;
   20 got into the e-mail by mistake. Isn't that             20 right?
   21 speculation?                                           21     A. He -- he attaches a patent that talks
   22         MS. ROSE: Object to form.                      22 about --
   23         THE WITNESS: The sentence is complete --       23     Q. That's later in the e-mail.
   24 sorry. The sentence is a complete non sequitur, so     24        MS. ROSE: Please --
   25 I can't fit it in the rest of the topics.              25 BY MR. SLATER:
                                                  Page 127                                                  Page 129
    1 BY MR. SLATER:                                          1     Q. I'm talking about this sentence.
    2     Q. Actually, the sentence makes perfect             2        MS. ROSE: Mr. Slater, please do not cut
    3 sense. And I'll tell you why. And you tell me if        3 off the witness when he's in the middle of an
    4 you agree. Let me ask the question differently.         4 answer.
    5          He is characterizing this nitrosamine          5        MR. SLATER: I'm not really sure if
    6 he's seeing in this irbesartan substance they're        6 there's an answer, or what's going on.
    7 experimenting with, and compares it to another          7 BY MR. SLATER:
    8 nitrosamine that he states they know occurs in          8     Q. Doctor, you want to talk about impurity
    9 valsartan and is caused by sodium nitrite. So he's      9 K. That gets mentioned at the bottom of the
   10 actually comparing what they're seeing here in the     10 e-mail; right? Actually, impurity K doesn't even
   11 irbesartan to something they know exists in the        11 get mentioned. There's a reference to a patent at
   12 valsartan, and then says, "and its structure is        12 the bottom of the e-mail.
   13 very toxic."                                           13     A. And in the patent -- in the patent it
   14          That makes sense. That's what you             14 talks about impurity K. The whole topic is about
   15 would expect a chemist to do, is say this looks        15 nitrosations on the nitrogen atom of the sartan
   16 like something else we already know exists. That       16 backbone, not on the nitrosation of a completely
   17 makes sense, doesn't it?                               17 different molecule.
   18     A. So all of those -- that and nitroso and         18     Q. Let's take the phrase, "It is similar to
   19 impurity K are N-nitrosos on the sartan backbone,      19 the NDMA that occurs in valsartan when quenched
   20 and NDMA is a completely different molecule. No,       20 with sodium nitrite."
   21 the comparison does not make sense.                    21          You'll agree with me that based on
   22     Q. Okay. I would like you to assume that           22 that, on its face, Jinsheng Lin knew that there was
   23 Jinsheng Lin actually intended to write into this      23 NDMA in valsartan, and it was formed as a result of
   24 e-mail what he wrote, okay?                            24 sodium nitrite quenching. And he knew that as of
   25          Well, let me ask you this. Let me             25 the day he wrote the e-mail. If you take it on its

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    1 face, whether you think that sentence belongs in       1 will be very strong and there will be an extremely
    2 the e-mail or not, he knew that; right?                2 high GMP risk." Do you see what I just read?
    3     A. You can interpret it however you want. I        3     A. Yes.
    4 don't interpret it that way.                           4     Q. He then states, "This is a common problem
    5     Q. So you think he said that and it was just       5 in the production and synthesis of sartan APIs."
    6 a massive coincidence that he mentioned something      6 You see that?
    7 that happened to be absolutely true at the time,       7     A. I do.
    8 and you think it's just complete coincidence that      8     Q. And you know as you sit here right now
    9 it got in there in some kind of happenstance of        9 that multiple sartans turned out to have this exact
   10 fate?                                                 10 problem due to sodium nitrite quenching. You know
   11     A. Yes.                                           11 that as you sit here right now; right?
   12     Q. Do you think it was a massive wild guess?      12     A. I know of two sartans where nitrosations
   13         MS. ROSE: Object to the form.                 13 of the sartan backbone is a problem from sodium
   14 BY MR. SLATER:                                        14 nitrite. I know of two.
   15     Q. Let me ask this. Let me withdraw that.         15     Q. Which two do you know about?
   16           This guy's job was to identify              16     A. Irbesartan and impurity K.
   17 impurities and the root cause for impurities;         17     Q. What about valsartan?
   18 right?                                                18     A. Valsartan is a deacylated version -- I
   19     A. Yes.                                           19 mean impurity K is a -- comes from a deacylated
   20     Q. And that's what he's talking about in          20 version of valsartan. So that's -- that's --
   21 that phrase, "NDMA is in valsartan, and the root      21 that's the nitrogen that I'm talking about when I
   22 cause is sodium nitrite quenching." That's what       22 say impurity K getting nitrosated. Not clear? I
   23 his job is, is to say things like that; right?        23 know of two. You asked me if it's a common
   24         MS. ROSE: Object to the form.                 24 problem, and I said I know of two.
   25         THE WITNESS: I think he was pointing          25     Q. So you're drawing a distinction where
                                                 Page 131                                                 Page 133
    1 out -- I said it's my -- he was pointing out this    1 something's deacylated?
    2 would be a problem of a similar magnitude of NDMA 2        A. If it's not deacylated, it's not going to
    3 forming in valsartan from sodium nitrite. If you     3 form an N-nitroso compound.
    4 look at the list of all the cohort of concerns, the  4     Q. So are you aware that N-nitroso compounds
    5 first one on the list is always NDMA. He pulled      5 formed in valsartan, irbesartan, and losartan?
    6 the first one off the list and used that for his     6     A. I don't know about losartan. I've never
    7 comparison. I gotta take a leak. Can we -- is        7 seen one.
    8 that okay?                                           8     Q. Okay.
    9        MR. SLATER: Sure.                             9     A. But I don't know about that. That's why
   10        THE WITNESS: I mean, do you want to go       10 I said I only know of two.
   11 on, or --                                           11     Q. One possibility is that Jinsheng Lin
   12        MR. SLATER: No, we can take a break.         12 knew, as of July 27, 2017, that NDMA was occurring
   13 You go to the bathroom and come on back.            13 in the valsartan that ZHP was manufacturing and the
   14        THE WITNESS: Okay. Thank you. Be right 14 root cause was the sodium nitrite quenching? That
   15 back.                                               15 is possible from this e-mail; correct?
   16        THE VIDEOGRAPHER: We're off the record 16           A. That's a possibility.
   17 at 2:03 p.m.                                        17     Q. Let's go down now to the last paragraph.
   18              (Break taken.)                         18 After the whole discussion in the e-mail, at the
   19        THE VIDEOGRAPHER: Back on the record at 19 very end Jinsheng Lin says, "I've also attached a
   20 2:05 p.m.                                           20 patent of a 2013 sodium azide NaCIO quenching
   21 BY MR. SLATER:                                      21 method by Zhejiang's Second Pharma Company
   22     Q. Let's go down to the paragraphs              22 Limited. They proposed that the use of NaNO2
   23 underneath the diagrams. The second paragraph       23 quenching" -- that would be sodium nitrite
   24 under the diagrams, it says, "If it is confirmed as 24 quenching; right?
   25 the above-speculated structure, then its toxicity   25     A. Right.

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                                                    Page 134                                                    Page 136
    1     Q. -- "will result in the formation of N-NO           1 the language says in the e-mail; right? Is that
    2 impurities"; right?                                       2 what the e-mail says?
    3     A. Yes, that's what it says.                          3     A. Yeah, when you look at the patent, it
    4     Q. So let's stop there. Did you read the              4 talks about impurity K.
    5 patent?                                                   5     Q. Now I have to ask the question again.
    6     A. I did.                                             6     A. Okay.
    7     Q. And that patent was from 2013; right?              7     Q. I'm going to make a promise to you.
    8     A. Yes.                                               8 We're going to talk about the patent. I don't have
    9     Q. And did you see in the deposition                  9 any idea why you-all think that patent helps you,
   10 testimony that that patent was in ZHP's files as of      10 but we'll talk about it, okay?
   11 2014?                                                    11         MS. ROSE: All right. Object to the
   12     A. I think I remember seeing that, yes.              12 characterization.
   13     Q. And therefore ZHP was aware, at least as          13         MR. SLATER: I don't know why it keeps
   14 of 2014, if not earlier, that sodium nitrite             14 getting thrown in, so I get to a
   15 quenching will result in the formation of                15 characterization --
   16 nitrosamine impurities; right?                           16         THE WITNESS: I think it --
   17     A. Impurity K.                                       17         MS. ROSE: He's trying to answer your
   18     Q. That's not what this e-mail says, sir.            18 question.
   19 So I'm asking you what it says.                          19         THE WITNESS: I think it clarifies, you
   20     A. Well, that's what it implies. Everybody           20 know --
   21 knew about impurity K.                                   21 BY MR. SLATER:
   22     Q. Is impurity K --                                  22     Q. I didn't ask you to clarify it, though.
   23     A. That --                                           23 I just asked you what the document said.
   24     Q. -- a nitrosamine?                                 24     A. So are you saying I can't clarify
   25     A. That paragraph does not imply --                  25 statements?
                                                    Page 135                                                    Page 137
    1        THE WITNESS: Nina, you want to talk?         1        MS. ROSE: I apologize. Please do not
    2 Nina, you're on mute. Can't hear you.               2 cut off the witness and not badger the witness. He
    3        MS. ROSE: I apologize. Hopefully my          3 can -- ask your questions. He's answering your
    4 objections have been coming through. But you've     4 questions.
    5 been cutting off the witness. Please let him        5 BY MR. SLATER:
    6 answer the question.                                6     Q. Right. Let's try to answer my questions.
    7        THE WITNESS: My feelings aren't hurt.        7 If I want clarification, I'll say by the way, give
    8 So that paragraph doesn't say anything about NDMA. 8 me clarification. I'm just asking simple
    9 That's not what it talks about. It's talking about  9 questions. If I ask you what the document says,
   10 impurity K. It's talking about -- it's talking     10 I'm not sure why you're explaining something else.
   11 about impurity K.                                  11 That's my question to myself. Why is he talking
   12 BY MR. SLATER:                                     12 about this other thing? I just asked him this.
   13    Q. Let's look at what this scientist, whose     13 That's where my consternation comes from.
   14 job it was to determine the root causes of         14     A. Well, the question is implying --
   15 impurities, what he actually said in the e-mail.   15     Q. No, it's not, actually.
   16 Can we do that?                                    16        MS. ROSE: Again, Adam, please stop
   17    A. Sure.                                        17 cutting --
   18    Q. You've never spoken to Jinsheng Lin;         18        MR. SLATER: There's not even a question
   19 right?                                             19 pending, Nina. I explained to him why I was
   20    A. I have not.                                  20 getting frustrated. I'm being very nice and
   21    Q. So let's look at his actual e-mail. His      21 polite. We like each other. He's a nice guy. I
   22 e-mail says that this other company, Zhejiang      22 like Dr. Thompson. We're both doing our jobs. But
   23 Second Pharma Company, proposed that the use of 23 I'm just explaining, and he's just starting to
   24 sodium nitrite quenching will result in the        24 explain something else. There wasn't even a
   25 formation of nitrosamine impurities. That's what   25 question. So I'm allowed to say hey, let me get to

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                                                   Page 138                                                    Page 140
    1 the next question.                                       1 spectrometry, to identify the impurity; correct?
    2        MS. ROSE: You're just making speeches on          2        MS. ROSE: Object to the form.
    3 the record then if you're not asking questions,          3        THE WITNESS: Identified the
    4 which I think is unfair to the witness and               4 impurity -- sorry. Sorry, Nina. Sorry.
    5 extending this process more than it needs to.            5        MS. ROSE: Go ahead, Dr. Thompson.
    6        MR. SLATER: Okay. All right. Well, I              6        THE WITNESS: Identified impurity K.
    7 appreciate that. And I agree with you. This              7 Yes, they did.
    8 is -- we don't need any of this. What we need is         8 BY MR. SLATER:
    9 to ask a question and answer a question. So I'm          9     Q. Okay. So you'll agree with me that in
   10 going to try it.                                        10 China, at least, we know that pharmaceutical
   11 BY MR. SLATER:                                          11 companies, when they couldn't identify an impurity,
   12     Q. He says that this other company proposed         12 could and did use mass spectrometry to identify
   13 that the use of sodium nitrite quenching will           13 what those impurities were. That's what this is
   14 result in the formation of nitrosamine impurities;      14 showing us; right?
   15 correct? That's the words on the page?                  15     A. Yeah, when they saw the peak, they were
   16     A. Yes.                                             16 triggered to use LC mass spec, yes.
   17     Q. And in the patent it talks about the             17     Q. And that's because a company should never
   18 formation of a nitrosamine impurity called impurity     18 ignore -- well, forget it. I'm not going to go
   19 K; right?                                               19 there because -- I'm not going to go there.
   20     A. Yes.                                             20     A. You were going say to say they shouldn't
   21     Q. So as least as of 2014, if not earlier,          21 ignore what they can't see?
   22 at least Jinsheng Lin was aware that another            22     Q. No, I actually wasn't going to say that.
   23 company had figured out that sodium nitrite             23 But we'll move along.
   24 quenching could result in the formation of a            24     A. Okay.
   25 nitrosamine impurity in valsartan. In the case of       25     Q. Let's look at the last two sentences of
                                                   Page 139                                                    Page 141
    1 the patent it described impurity K. True                 1 the e-mail. This indicates that other companies
    2 statement?                                               2 have paid attention to the quality problem very
    3        MS. ROSE: Object to the form.                     3 early on. You see that?
    4 BY MR. SLATER:                                           4     A. Yes.
    5     Q. That's correct; right?                            5     Q. The quality problem is the formation of
    6     A. So the -- impurity K and NMDA are worlds          6 nitrosamine impurities due to sodium nitrite
    7 apart. They're not the same thing. If I see              7 quenching. That's what he's talking about in this
    8 impurity K, I'm not thinking NMDA. Two different         8 e-mail; right?
    9 planets in terms of structure and how they come          9     A. Yeah, the quality problems in impurity K.
   10 about. That's my clarification.                         10 Or this one irbesartan. Yes, that's a quality
   11     Q. You agree with me that sodium nitrite            11 problem.
   12 quenching causes the formation of nitrosamine           12     Q. He also mentioned up above in the e-mail
   13 impurities in valsartan; right?                         13 that what was being seen in the irbesartan was
   14     A. The way they ran the -- yeah, according          14 similar to the NDMA that occurs in valsartan
   15 to item four it did, yes.                               15 when quenched with sodium nitrite, which he
   16     Q. Let's go to the next sentence in this            16 said -- rephrase.
   17 paragraph. The second sentence says, "At the same       17          He also said above that what was seen
   18 time, they" -- meaning this other Chinese               18 in the irbesartan was similar to the NDMA that
   19 pharmaceutical company -- "used ZHP's crude             19 occurs in valsartan when quenched with sodium
   20 valsartan in their LCMS test and detected this          20 nitrite. He also said that in the e-mail; correct?
   21 impurity." Do you see that?                             21     A. Yes, he said that.
   22     A. Yes, I do.                                       22     Q. And in the last sentence, after pointing
   23     Q. So it's saying that this other                   23 out this quality problem, he says, "So leaders,
   24 pharmaceutical company in China, at least as of         24 please pay attention to this issue." You see that
   25 2013 when the patent was dated, used LCMS, mass         25 sentence?

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                                                  Page 142                                                  Page 144
    1        MS. ROSE: Object to the form.                    1     Q. He sent it to Peng Dong, who's the head
    2        THE WITNESS: Yeah.                               2 of the analytical department, right? The technical
    3 BY MR. SLATER:                                          3 department, I mean.
    4     Q. Remember you asked me at the beginning of        4     A. No analytical chemist tells a synthetic
    5 the deposition -- or you stated out as a question       5 chemist how to run their reactions. It's
    6 sort of to the world -- rephrase.                       6 ridiculous.
    7          You remember at the beginning of the           7     Q. You have Lihong Lin. She was the head of
    8 deposition you questioned why would he send this        8 regulatory for the whole company. Did you know
    9 e-mail to all these high level people in the            9 that?
   10 company? Remember you said that?                       10     A. Yeah. As -- again, I never saw a
   11     A. Yeah.                                           11 regulatory fast person walk into the process lab
   12     Q. Well, now you see at the end he says, "So       12 and say run your reaction differently. That never
   13 leaders, please pay attention to this issue," the      13 happened.
   14 issue being a quality problem that other companies     14     Q. Dr. Thompson, do you realize what
   15 have noticed. Do you see that?                         15 happened when the world found out that there was
   16     A. So none of those people can take -- can         16 NDMA in the valsartan?
   17 do anything about it. They're not process              17     A. Yeah, they immediately recalled it.
   18 chemists. They can't make a change. All they can       18     Q. It was a big problem; right?
   19 do is say why am I getting this e-mail.                19     A. Yes. They -- they reacted responsibly.
   20     Q. Couldn't they also say, hey, this guy's         20 They immediately recalled it.
   21 pointing out to us a quality problem we have with      21     Q. And that was because, as Jinsheng Lin
   22 the manufacturer of our sartans, and he's literally    22 described it, toxicity would be very strong and an
   23 telling them to beware because other companies are     23 extremely high GMP risk; right?
   24 catching on to this problem?                           24        MS. ROSE: Object to the form. Object,
   25        MS. ROSE: Object to form.                       25 outside the scope.
                                                  Page 143                                                  Page 145
    1 BY MR. SLATER:                                          1 BY MR. SLATER:
    2     Q. That's a responsible thing to do when            2     Q. Or is that beyond your scope of your
    3 your job is to identify impurities in a drug            3 opinion?
    4 substance that your company's manufacturing. If         4     A. Well, when I look at the N-nitroso
    5 you see a dangerous problem, you let the people at      5 compound from irbesartan, that's not a risk. That
    6 the top of the company know, hey, we have an issue      6 doesn't look like a toxic compound. So he's being
    7 we need to take care of. That's responsible;            7 a little ignorant in his evaluation of what -- he
    8 right?                                                  8 sees N-NO and says toxic without any depth of
    9         MS. ROSE: Object to the -- Dr. Thompson,        9 understanding.
   10 give me one second. Object to the form. Object to      10           And I also read from Min Li's
   11 the speech.                                            11 deposition that impurity K was qualified at a
   12         THE WITNESS: I totally disagree. His           12 thousand -- at a thousand PPM by Novartis. So
   13 responsibility, if he thought that, was to get in      13 he's -- he's mischaracterizing the toxicity of
   14 touch with the head of process research and say        14 these compounds, and he's sending it to the wrong
   15 we've got a problem here. This is a chemistry          15 people. And it's his opinion. There's just no
   16 problem. Let's take care of it, instead of sending     16 data that -- there's just -- it's off.
   17 it to a quality control person who doesn't have any    17     Q. Sorry. Doctor, did you say there's no
   18 control over what happens in the chemistry and         18 data? The statement that there's NDMA in valsartan
   19 their reactors. He sent it to the wrong people.        19 caused by sodium nitrite quenching is an absolutely
   20 BY MR. SLATER:                                         20 correct statement. We already talked about that.
   21     Q. Well, he sent it to his boss, Min Li;           21     A. Yeah.
   22 right? He is that -- one of the people, right, who     22         MS. ROSE: Object to the form.
   23 got it?                                                23 BY MR. SLATER:
   24     A. Yeah. No chemists. No process chemists.         24     Q. Doctor, that's a correct statement;
   25 It's weird. That's weird.                              25 right?

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                                                 Page 146                                                Page 148
    1     A. Where's the data to back it up? Where's       1        MS. ROSE: Object to the form.
    2 the data prior to this e-mail to back it up?         2        THE WITNESS: Yes. Oh, sorry. Yes.
    3     Q. That's a good question. You would think       3 BY MR. SLATER:
    4 that they -- it would have been produced to us;      4     Q. And that's exactly what the patent talked
    5 right?                                               5 about; right?
    6         MS. ROSE: Object to the form. Adam,          6     A. Yes.
    7 please, bringing in your discovery theories into an  7     Q. And what they did is they replaced the
    8 expert deposition is very inappropriate.             8 sodium nitrite with something called hypochlorite
    9         MR. SLATER: I think I can ask any            9 so it would not be capable of producing a
   10 question I want. I'm being told that -- things      10 nitrosamine; correct?
   11 that I think makes these comments and questions     11     A. Yeah. That's bleach, by the way.
   12 very appropriate, because Dr. Thompson needs to     12     Q. Am I correct?
   13 know what position he's taking and what might come. 13     A. Yes. I think that by doing that, they
   14         THE WITNESS: Yeah, the fact that there's    14 would have had a worse problem, a worse process.
   15 no data results that should be present if they knew 15     Q. So going back to your report now, I want
   16 that, if he ran those experiments and knew it,      16 to look at the attachments. Exhibit 1 is your CV;
   17 there would be data. And there's no data. I         17 right?
   18 haven't seen data. That's really the right way      18     A. Hold on. I'm trying to get back there.
   19 to -- I haven't seen the data. If it was            19 Let's see. I'm back to my report. What exhibit is
   20 available, it would be produced. So without data,   20 that, two?
   21 that sentence really doesn't carry as much weight   21     Q. Exhibit 1 is your CV, your curriculum
   22 as you may think.                                   22 vitae; correct?
   23 BY MR. SLATER:                                      23     A. Yes.
   24     Q. So it's just an isolated, lucky guess,       24     Q. And that's up to date?
   25 huh?                                                25     A. No, Exhibit 1 is the deposition notice.
                                                 Page 147                                                Page 149
    1         MS. ROSE: Object to the form.                1     Q. No, no, no. I'm talking about your
    2 BY MR. SLATER:                                       2 report, which is Exhibit 4, has two exhibits to it.
    3     Q. I mean, it was just an isolated, lucky        3     A. Okay. Yeah. Okay. All right.
    4 guess that there was NDMA in valsartan in 2017 that 4      Q. The first exhibit to your report is your
    5 was forming due to sodium nitrite quenching? Is      5 curriculum vitae; correct?
    6 that your testimony, Doctor?                         6     A. Yes.
    7         MS. ROSE: Object to the form.                7     Q. And that's up to date?
    8         THE WITNESS: As I said before, if you        8     A. Yes.
    9 look at a table of the cohort of concerns, the       9     Q. You have a list of patents; correct?
   10 first nitrosamine in every table is NDMA. He        10        MS. ROSE: I want to make clear we
   11 picked the first one. It's not a lucky guess.       11 produced an additional CV in response to your
   12 BY MR. SLATER:                                      12 request for an up-to-date CV prior to the
   13     Q. Which table are you talking about?           13 deposition. So this is the CV at the time he
   14     A. Any table I've looked at where they          14 submitted his report.
   15 list -- the regulatory -- that toxicology and       15 BY MR. SLATER:
   16 regulatory affairs paper that you'll look at later. 16     Q. Were there any changes made to the CV
   17 There's a table in there. I'm pretty sure the       17 between the time you served the report and whatever
   18 first one is NDMA. You go to a table, you pick      18 was sent to us more recently?
   19 up -- the first one you see, you put it in the      19     A. Yeah, I added a number of patents. I
   20 e-mail.                                             20 added all the compounds I worked on that became
   21     Q. Is that a document you have in your file?    21 commercial, and I added a few more publications as
   22     A. Yes. You have it now.                        22 well. But if you're talking about a certain patent
   23     Q. Okay. You think that it was a good idea      23 I think you're talking about, that didn't change.
   24 to try to avoid the creation of nitrosamine         24     Q. All right. We're going to put your
   25 impurities in sartans?                              25 up-to-date CV up then.

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                                                   Page 150                                                     Page 152
    1     A. Okay, great. You're going to display it           1 was Ministry and Industry Information Technology of
    2 on the share screen? This is the up-to-date one?         2 the People's Republic of China, Chemical Industry
    3 Okay, great.                                             3 Standard of People's Republic of China,
    4        MS. ROSE: Is this being introduced as an          4 Dimethylamine For Industrial Use published
    5 exhibit?                                                 5 December 4, 2009. Do you see that?
    6        MR. SLATER: I'm trying to get there.              6    A. Yes.
    7        MS. ROSE: Okay.                                   7    Q. Did you read that document?
    8        MR. SLATER: Exhibit 7 now.                        8    A. That's the one -- that's the one with all
    9        MS. ROSE: I just want to make sure the            9 the description of the test methods on the CMA. Is
   10 doctor has access to the document on the share          10 that the one -- is that the one that is?
   11 file.                                                   11    Q. The Chinese standards as described, I
   12 BY MR. SLATER:                                          12 think it has some test methods in it for COAs.
   13     Q. Exhibit 7 is the up-to-date curriculum           13    A. I believe I did read that one, yes.
   14 vitae we were produced. So Doctor, this is what I       14    Q. And then at the bottom there's four
   15 want to ask you --                                      15 documents with ZHP Bates numbers. Do you see that?
   16        MS. ROSE: It just hasn't come through            16    A. Yeah.
   17 yet, Adam. Okay, now it's through. I just want to       17    Q. When did you get those additional
   18 make sure the doctor has the opportunity to look at     18 materials, those five new documents that were added
   19 what you're --                                          19 to your list of materials?
   20        THE WITNESS: Okay. I don't really need           20    A. I'd say last week.
   21 to. I know it well enough that I'll just depend on      21    Q. Did you know they existed before the last
   22 the shared screen for this one.                         22 week, or is that when you first found out they
   23 BY MR. SLATER:                                          23 existed?
   24     Q. Who knows, maybe I'll ask a couple easy          24    A. Well, I was aware that ZHP had a lot of
   25 questions.                                              25 certificates of analysis for every batch of
                                                   Page 151                                                     Page 153
    1     A. Put me to sleep then.                             1 dimethylamine, so I knew that they must have
    2     Q. In your curriculum vitae, this up-to-date         2 existed.
    3 one we marked as Exhibit 7, there's a list of            3    Q. How did you know that?
    4 patents. Are any of them relevant to the issues          4    A. Because generally GMP purposes, you can't
    5 that you're opining on in this case?                     5 accept a material for use unless you approve it.
    6     A. No.                                               6 And part of the approval process is the certificate
    7     Q. In your CV we marked as Exhibit 7,                7 of analysis from the supplier.
    8 there's a list of research publications. Are any         8    Q. When you got these materials, we got no
    9 of them relevant to the issues that you're opining       9 supplemental report from you. So I'm assuming they
   10 on in this case?                                        10 did not change any of your opinions?
   11     A. No.                                              11    A. No, they did not.
   12     Q. Let's go to Exhibit 2. We'll come to the         12    Q. Let's put up -- I think it's exhibit --
   13 amended, don't worry. Looking now at Exhibit 2 to       13 are we up to eight now, or nine?
   14 your report, which is Exhibit 4. As of the time         14        MR. GEDDIS: Nine.
   15 you wrote the report, this was the list of              15        MR. SLATER: Exhibit 9 is going to be the
   16 materials that you considered?                          16 English translation of that standard.
   17     A. Yes.                                             17        THE WITNESS: Okay. Yep.
   18     Q. And the opinions set forth in your report        18 BY MR. SLATER:
   19 are based on these materials; correct?                  19    Q. Okay. Is there anything about this
   20     A. Yes.                                             20 standard that's of any significance to you in
   21     Q. And then let's put up as Exhibit 8 the           21 forming your opinions in this case?
   22 up-to-date amended Exhibit 2, please.                   22        MS. ROSE: Has this been introduced as an
   23          In looking at this document, at the            23 exhibit?
   24 end there's a list of other materials. And it           24        MR. SLATER: Let me ask the question
   25 looks like five documents were added, one of which      25 differently. This is Exhibit 9.

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                                                  Page 154                                                  Page 156
    1        MS. ROSE: Okay. I apologize. Thank               1 in the last week?
    2 you.                                                    2     A. This -- this certificate of analysis?
    3 BY MR. SLATER:                                          3     Q. This standard. This document. Had you
    4     Q. Doctor, is there anything of any                 4 ever seen this before --
    5 significance to you in this document?                   5     A. No.
    6     A. I mean, this describes -- scroll down.           6     Q. -- a week ago?
    7 Is there a certificate of analysis in here?             7     A. No.
    8        MS. ROSE: Doctor, you have access to             8     Q. Have you ever worked with this document
    9 this document on the share site.                        9 before?
   10        THE WITNESS: No, I really have to take a        10     A. No.
   11 look at the document. What is that, 9?                 11     Q. Have you -- do you hold yourself out as
   12 BY MR. SLATER:                                         12 an expert in the interpretation of this document?
   13     Q. Yes.                                            13        MS. ROSE: Object to the form.
   14     A. Okay. So let's see. There is -- oh,             14        THE WITNESS: Highly skilled, not an
   15 yeah, there's a -- a mock certificate of analysis      15 expert.
   16 that has the testing methods. So the question is       16 BY MR. SLATER:
   17 is anything in this document pertinent to my           17     Q. The words on the page say that the
   18 opinions? Is that what --                              18 alkalinity is calculated as dimethylamine; correct?
   19     Q. Was anything that you read in this              19     A. That's what the words say. That's what's
   20 document significant to you?                           20 unclear about it.
   21     A. The only significance it was -- so I            21     Q. I have to ask the question again. The
   22 could understand the test methods and how they're      22 word on the page says alkalinity calculated as
   23 run for entering the data analysis. That was the       23 dimethylamine weight by percentage. That's what it
   24 significance. I got a deeper understanding of how      24 says; right?
   25 they test DMF, what they actually do.                  25     A. That's what it says.
                                                  Page 155                                                  Page 157
    1      Q. When you got that understanding, was that       1    Q. Now let's look at page 6. You see
    2 significant to you once you learned that                2 there's a 4.9.5 result calculation. Do you see
    3 information?                                            3 that heading?
    4      A. So the alkalinity test is -- is one that        4    A. Yes.
    5 it was unclear. The wording says, you know, an          5    Q. It says, "The mass fraction of alkalinity
    6 alkalinity of eight percent as a function               6 calculated as dimethylamine W5 is expressed as a
    7 calculated as dimethylamine. And that wording was       7 percent and calculated using the formula." And you
    8 a little unclear. So by reading this document, it       8 see the formula there?
    9 became clear what that wording actually meant.          9    A. I do.
   10      Q. What became clear to you?                      10    Q. And if you go down to the inputs, you see
   11      A. So, yeah, that's total base content.           11 that one of the inputs is an M, a capital M?
   12 That's not -- that's not necessarily dimethylamine,    12    A. Yes.
   13 it's total base content. It could be                   13    Q. And you see where it says that M equals
   14 dimethylamine. It could be carbonate. It could be      14 molar mass of dimethylamine in grams per mole. Do
   15 a few things. So that's -- it's a molecular weight     15 you see that?
   16 of dimethylamine. That's the number in the             16    A. Yes.
   17 formula.                                               17    Q. So that's telling you that one of the
   18      Q. Let's go to page 2 of this document,           18 inputs to the calculation is the molar mass of
   19 table one, the technical requirements.                 19 dimethylamine in grams per mole. That's what this
   20      A. Yes.                                           20 calculation states; correct?
   21      Q. You see where it says alkalinity in the        21    A. That's the mo -- that term M is the
   22 left-hand column?                                      22 molecular weight of dimethylamine. It's not
   23      A. Alkalinity calculated as dimethylamine.        23 necessarily the dimethylamine content. It's the
   24      Q. Are you -- let me ask you this. Have you       24 molecular weight. So the difference is there could
   25 ever seen this standard before it was given to you     25 be a bunch of different bases in there. It's the

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                                                  Page 158                                                Page 160
    1 total base content, not specifically one.               1 using DMF, one of the potential inputs to the
    2 Dimethylamine is a base. It's not specifically          2 process, along with the DMF, could be
    3 that, it's total. Everything.                           3 dimethylamine; correct?
    4     Q. Let's go with what you just said. One of         4        MS. ROSE: Object to the form.
    5 the bases could be dimethylamine?                       5        THE WITNESS: Yeah, at a number so low
    6     A. I said -- I said that -- yeah, one of the        6 you ignore it, but yes.
    7 bases could possibly be, yes.                           7 BY MR. SLATER:
    8     Q. So ZHP was aware that one of the                 8    Q. I'll ask it again. Sorry.
    9 potential inputs coming to this manufacturing           9    A. Okay.
   10 process with the DMF would be dimethylamine.           10    Q. I didn't ask you about what they do
   11 That's what this is telling us; right?                 11 with -- the expert on what they do with the
   12         MS. ROSE: Object to the form.                  12 information. So I'm not asking you what they do
   13 BY MR. SLATER:                                         13 with the information. So I'm not sure why you're
   14     Q. It's a potential input to the process           14 throwing that in. You already told me that's not
   15 dimethylamine; correct?                                15 your role here; right?
   16     A. At such a low level no one would pay            16    A. Right.
   17 attention to it.                                       17    Q. Okay. So let me just limit it to the
   18     Q. New question. One of the things this is         18 question I'm trying to ask, please.
   19 telling us is that ZHP was aware that one of the       19          One of the things this standard shows
   20 potential inputs to the process when using DMF was     20 us is that ZHP would have been aware that when it
   21 dimethylamine; correct?                                21 used DMF, that, along with the DMF, dimethylamine
   22         MS. ROSE: Object to the form.                  22 could also be introduced to the process; correct?
   23         THE WITNESS: I mean the analytical             23    A. Yes.
   24 chemist who filed this document might say that,        24        MS. ROSE: Object to the form.
   25 but -- okay, yes. No, I won't say yes to that. I       25        THE WITNESS: Oh, sorry. Yes.
                                                  Page 159                                                Page 161
    1 don't think ZHP was aware. Some low-level working 1 BY MR. SLATER:
    2 people who file documents saw that and said that's   2     Q. And you've looked at the certificate --
    3 just a number of base. That's how they calculated    3 well, let me ask you this. Rephrase.
    4 it. I don't think -- I don't think anybody who saw   4          There's four certificates of analysis
    5 that, who had access to this document, could         5 listed at the bottom. And I pulled them out. And
    6 interpret that in terms of how it would affect the   6 they're all written in the Chinese language. Do
    7 chemistry in the plant. No way.                      7 you see that?
    8 BY MR. SLATER:                                       8     A. Yes.
    9     Q. Didn't ask you that at all. So please         9     Q. Were those of any significance to you
   10 try to stay with me on this question.               10 whatsoever?
   11     A. Okay. Sorry for diverting.                   11     A. Yes.
   12        MS. ROSE: Please do not characterize         12     Q. You read Chinese?
   13 what the witness is doing. He's answered your       13     A. No. I was able to figure out what
   14 question. You asked a complicated question --       14 the -- what the line items were after I read this
   15        MR. SLATER: You want to comment and tell 15 document.
   16 me that I got a responsive answer when I didn't?    16     Q. So you matched it up to that table --
   17 I'm not going to be as receptive to what you say,   17     A. Yes.
   18 because we both have to be honest with each other, 18      Q. -- we looked at before?
   19 okay? Come on. Please. I've been enormously         19     A. Yes.
   20 patient and taking my time through this deposition. 20     Q. And you saw that for two out of the four
   21 But I'll try again. And again, I like               21 certificates of analysis you were provided, there
   22 Dr. Thompson. We're doing good.                     22 actually was some alkalinity measured; correct?
   23 BY MR. SLATER:                                      23        MS. ROSE: Object to the -- object to the
   24     Q. I'll try it again. This standard is          24 form. Are you going to show him the document?
   25 telling us that ZHP would have been aware that when 25        MR. SLATER: I'm asking the question I

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                                                  Page 162                                                Page 164
    1 just asked. I'm trying to save time.                 1         THE WITNESS: 2:50. You got it.
    2        MS. ROSE: It's just not a memory test.        2         THE VIDEOGRAPHER: We're off the record
    3 So you're asking him to remember numbers in          3 at 2:41 p.m.
    4 documents.                                           4              (Break taken.)
    5        MR. SLATER: Okay.                             5         THE VIDEOGRAPHER: We're back on the
    6 BY MR. SLATER:                                       6 record at 2:55 p.m.
    7    Q. Do you remember looking at these               7 BY MR. SLATER:
    8 documents and seeing that two out of the four of     8     Q. Doctor, I'm going to ask you a few more
    9 them actually calculated having some alkalinity on   9 questions about Exhibit 9, those standards.
   10 that line?                                          10     A. Yes. Sure.
   11    A. The effect those numbers had on my            11     Q. Let's go to the foreword. It's the third
   12 opinion was to reinforce it.                        12 page of the document. It has Roman numeral one.
   13    Q. Okay. My question is when you saw the         13 It's the foreword. It's literally the third page
   14 four certificates of analysis that you were         14 in.
   15 provided by ZHP, did you note that in two out of    15     A. Third page on that like the -- the
   16 those four, there was some alkalinity measured? It  16 foreword. Okay, foreword. That's the page. Yeah.
   17 wasn't zero. It was more than zero. I'm just        17 Okay. I'm there.
   18 asking if you saw that.                             18     Q. This points out in the -- so it's talking
   19    A. Yes, I did.                                   19 about some revisions to the prior version of this
   20    Q. So with those certificates of analysis,       20 standard. And it says, "The scope" -- this is the
   21 ZHP would have been aware that there was the        21 third line, "The scope has been revised from
   22 potential that per these suppliers' own certificate 22 'applicable to the production of industrial
   23 of analysis, it was potentially -- it was           23 dimethylformamide via the reaction of methylformate
   24 potentially true that the DMF also contained some   24 with dimethylamine primarily used in
   25 amount of dimethylamine. They would have been on 25 pharmaceuticals, pesticides, and organic chemicals
                                                  Page 163                                                Page 165
    1 notice of that possibility; correct?                    1 to -- applicable to industrial dimethylformamide
    2        MS. ROSE: Object to the form.                    2 synthesized by one-step carbon monoxide method and
    3        THE WITNESS: I think they would have             3 the reaction of methylformate with dimethylamine."
    4 been on notice not to worry about it.                   4 Do you see that?
    5 BY MR. SLATER:                                          5     A. Yes.
    6    Q. Can you answer -- can you answer my               6     Q. And that's how you manufacture
    7 question?                                               7 dimethylformamide, is by a reaction of
    8          They would have been on notice that            8 methylformate with dimethylamine; correct?
    9 there was the potential for some dimethylamine to       9     A. Yeah, that's what it says.
   10 be introduced to the process through this DMF.         10     Q. Did you know that before you got involved
   11 They would have been on notice of that possibility;    11 in this case, that that's how you create DMF?
   12 correct?                                               12     A. I might have known that in the distant
   13        MS. ROSE: Object to the form.                   13 past. It certainly got reinforced once I got
   14        THE WITNESS: Yes.                               14 involved with this case.
   15        MR. SLATER: Why don't we take a break           15     Q. And let's go now back to the calculation
   16 for a couple minutes. I want to look at my notes.      16 on page 6. You mentioned that the alkalinity could
   17 There's a couple things I'd like to do, but I'd        17 be due to bases including dimethylamine and a few
   18 like to organize a little bit. And why don't we        18 other substances. Can you tell me again what those
   19 come back in about, you know, five or six or           19 substances are?
   20 seven minutes, and then I'll let you know how much     20     A. So hold on. Let me get to the equation.
   21 more I have to do, and we'll get going.                21 The possibility -- so one of the possibilities
   22        THE WITNESS: Okay, great. Thank you.            22 potentially -- I mean, the bases that would be
   23        MS. ROSE: If we could take ten minutes,         23 stable in DMF would be a carbonate base. Now I see
   24 that would be helpful to me personally.                24 methoxide for methylformate. There could be
   25        MR. SLATER: Nina, I am here for you.            25 methoxide in there. There's a number of different

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    1 bases that could be in there. Not just -- there's    1    Q. I apologize. Okay. Apologize.
    2 a number of different bases that could be in there.  2 Technical issue. Hi, Doctor. How are you?
    3    Q. Well, I want to know the ones that you         3    A. Hi. Good.
    4 can identify for me. You said carbonate base or      4    Q. I just have a few questions for you.
    5 methoxide?                                           5    A. Okay.
    6    A. Carbonate base -- yeah, so methylformate       6    Q. Dr. Thompson, would you agree that your
    7 and methylamine, that will give off methanol, not    7 key opinion in this case is that you disagree with
    8 methoxide. So -- and I don't know if they used       8 the opinions of Drs. Hecht and Najafi that chemists
    9 carbonate in the process at all, if there are any    9 working in the pharmaceutical industry should have
   10 catalysts that use it. So this -- you know, I       10 known or suspected prior to 2018 that NDMA could
   11 don't know exactly if they just mix those two       11 form in the valsartan manufacturing process?
   12 ingredients with no catalyst and heat them up, or   12    A. Yes.
   13 what they do, but...                                13        MR. SLATER: Object to the form of the
   14          So I'm just -- you know, assuming          14 question. It's a leading question. Inappropriate.
   15 there's a catalyst, there could be things that come 15 You can answer.
   16 off the catalyst that are bases, like carbonate.    16        THE WITNESS: Yes, I disagree with their
   17 You know, that's -- so that's a total base content. 17 opinions.
   18 Otherwise they would just say this is the amount of 18 BY MS. ROSE:
   19 dimethylamine in there. Why don't they say that?    19    Q. And why is that? What is the basis for
   20 Why do they say calculated as dimethylamine? There 20 your disagreement?
   21 must be other bases in there for them to make a     21    A. After I read the supporting documents
   22 generic formula like that.                          22 that they provided with their opinions, it was
   23    Q. You're speculating as to that; correct?       23 clear to me that they were using hindsight to make
   24    A. I'm speculating.                              24 their -- to make their judgment. So that was one
   25        MS. ROSE: Object to form.                    25 thing.
                                                   Page 167                                                 Page 169
    1        THE WITNESS: Yeah, of course I'm              1           The other thing is my -- my -- in all
    2 speculating. I'm sorry. Yes, I'm -- I didn't put     2 my experience as an organic chemist, I just think
    3 the formula together. I'm speculating.               3 that this issue had too many subtleties involved
    4 BY MR. SLATER:                                       4 with it for people to recognize the problem. And
    5     Q. The only base referenced here is              5 the last thing is the -- you know, there were two
    6 dimethylamine; correct?                              6 regulatory bodies that reviewed these amendments.
    7     A. Yes.                                          7 There was two amendments and two regulatory bodies.
    8        MR. SLATER: Dr. Thompson, I'm going to        8 That means there was four different reviews by
    9 conclude my direct questioning of you. I have all    9 regulatory bodies with the goal of looking at this
   10 this, but I'm going to try to avoid using it. So    10 thing in terms of safety. That was the goal of
   11 hopefully your counsel doesn't ask a lot of         11 evaluating it. Not a single person brought up the
   12 questions and I don't have to come back to all that 12 issue of NDMA formation. Four -- four chemists
   13 stuff. But subject to what questions are asked,     13 from regulatory bodies, zero brought up the issue.
   14 I'm done for now. So thank you.                     14           So I really don't think it's -- you
   15        THE WITNESS: Okay. Great. Thank you.         15 can make a statement that chemists would have known
   16        MS. ROSE: Can we go off the record?          16 this issue. I think from the evidence, it's the
   17        THE VIDEOGRAPHER: We're off the record 17 opposite. Chemists would not have recognized this
   18 at 3:00 p.m.                                        18 issue.
   19              (Break taken.)                         19    Q. Dr. Thompson, do you recall that you were
   20        THE VIDEOGRAPHER: We're back on the          20 asked about the many patents and publications on
   21 record at 3:35 p.m.                                 21 your CV earlier?
   22             EXAMINATION                             22    A. Yes.
   23 BY MS. ROSE:                                        23    Q. And do you recall that you agreed that
   24     Q. Hi, Doctor.                                  24 they were not relevant to the issues that you're
   25     A. Nina, you just blanked out.                  25 opining on in this case?

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                                                   Page 170                                                    Page 172
    1     A. Yeah. So my understanding of that                 1 introduce dimethylamine into the manufacturing
    2 question was that question was directing me do you       2 processes in which that DMF solvent was used?
    3 think your patents and publications are relevant to      3     A. No. When you read the term calculated as
    4 the synthesis of nitrosamines, the detection of          4 dimethylamine content, as an analytical chemist you
    5 nitrosamines, the synthesis of valsartan or              5 know your total base content, total base content.
    6 nitrosamines in valsartan. That's what I                 6 You're not thinking dimethylamine. And also those
    7 understood those -- those questions to be about my       7 numbers of those COAs were extremely low. Those
    8 papers. And so I said no, they're not relevant.          8 are the kind of numbers you look at and you say I
    9          But I think they are relevant in terms          9 don't have to worry about this issue. These are
   10 of general organic chemistry and using DMF as a         10 really low numbers.
   11 solvent, for example, in chemistry. So they are         11        MS. ROSE: All right. Thank you so much,
   12 relevant in that respect. As an expert witness in       12 Doctor. That's all I have.
   13 this particular case, my experience in publications     13        THE WITNESS: Thanks.
   14 are very relevant.                                      14        MR. SLATER: We're going to go off the
   15     Q. Doctor, do you recall that you testified         15 record.
   16 several times that you're not functioning as the        16        MS. ROSE: Okay.
   17 regulatory expert in this case; correct?                17        THE VIDEOGRAPHER: We're off the record
   18     A. That's correct.                                  18 at 3:41 p.m.
   19     Q. Do you know if ZHP is presenting a               19             (Break taken.)
   20 regulatory expert in connection with this               20        THE VIDEOGRAPHER: We're back on the
   21 litigation?                                             21 record at 3:47 p.m.
   22     A. Yes, Ali Afnan.                                  22            EXAMINATION
   23     Q. Okay. And did you review his expert              23 BY MR. SLATER:
   24 report and deposition testimony?                        24     Q. I just have a few follow-up questions for
   25     A. Yes, I did.                                      25 you.
                                                   Page 171                                                    Page 173
    1     Q. Okay. And did you rely on his opinions            1    A. Okay.
    2 with respect to regulatory issues?                       2    Q. You talked a little bit about what you
    3     A. With respect to regulatory issues,                3 based your opinion on, and you said that one of the
    4 absolutely, yes.                                         4 things you're relying on is the two regulatory
    5     Q. Okay. Would you agree that you're an              5 bodies reviewed amendments. Those were amendments
    6 expert in the field of organic chemistry?                6 to what?
    7     A. Yes.                                              7    A. Those -- those were amendments to the
    8     Q. And would you agree that you're an expert         8 original, I guess the -- so the -- the DMF they
    9 in the field of process chemistry?                       9 changed from ten -- I'm doing my best to recall
   10     A. Yes.                                             10 this. They changed from ten to the triethylene
   11        MR. SLATER: Objection to both questions.         11 hydrochloride process. That was a DMF. And then
   12 Leading.                                                12 there were amendments to that DMF. I believe there
   13 BY MS. ROSE:                                            13 were four, maybe five amendments to that. Two of
   14     Q. Dr. Thompson, when you used DMF solvent          14 those amendments were -- involved sodium nitrite
   15 in chemical processes prior to the summer of 2018,      15 quenching.
   16 were you on notice that dimethylamine was present       16    Q. Did you read those amendments?
   17 in DMF?                                                 17    A. I read the -- I read the amendments that
   18     A. No.                                              18 Prinston had. And I'm not that savvy a regulatory
   19     Q. Do you recall talking about the COAs that        19 person to know if they -- the amendments that
   20 were associated with the dimethylformamide solvent      20 Prinston, the drug product manufacturer had, would
   21 that was used by ZHP?                                   21 be the same amendments that ZHP submitted to the
   22     A. Yes.                                             22 FDA. I don't think -- I don't know if they're the
   23     Q. Okay. Do you believe that those                  23 same, but I read the ones that Prinston supplied,
   24 certificates of analysis would have put ZHP on          24 the drug product manufacturer.
   25 notice that using dimethylformamide solvent would       25    Q. You made clear you're not a regulatory

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                                                 Page 174                                                    Page 176
    1 expert; right?                                         1    A. That's correct.
    2     A. Yes.                                            2    Q. You mentioned that you had reviewed
    3     Q. And you can't tell us right now, based on       3 Dr. Afnan's report; right?
    4 your own knowledge, what the FDA did with those        4    A. Yes.
    5 amendments to evaluate them; right?                    5    Q. I have your list -- your amended list of
    6     A. I assume they read them.                        6 materials reviewed. I don't see any reference to
    7     Q. You don't know who would have read them         7 his deposition. You did not see his deposition;
    8 or what they would have done; right?                   8 correct?
    9     A. I recall reading from various documents,        9    A. I can't -- I can't remember. I
   10 like Afnan's, that they were read by chemists,        10 definitely read his report.
   11 organic chemists at those regulatory agencies were    11    Q. You told us before that everything was
   12 some of the people that read those.                   12 carefully written. I assume if you had read the
   13     Q. You're not testifying that it's within         13 deposition, it would be listed. And since it's
   14 your expertise to know what the FDA did when they     14 not, that's not something you would have seen;
   15 reviewed those amendments; right?                     15 correct?
   16     A. No. I'm assuming that the FDA read those       16    A. Yeah, that's correct.
   17 with an eye towards safety. These --                  17        MS. ROSE: Object to form.
   18     Q. I didn't mean to interrupt. Had you            18 BY MR. SLATER:
   19 finished?                                             19    Q. You don't recall any specifics or
   20     A. Yeah. So I'm assuming the FDA read those       20 anything you saw in a deposition of Afnan that's
   21 documents with a particular concern about how that    21 not listed, but there's nothing you independently
   22 would affect the safety of the -- of the API.         22 recall about that; right?
   23     Q. You're joining that assumption, but you        23    A. No, there's nothing I recall about it
   24 don't know that? That's not within your expertise;    24 specific to him, no.
   25 right?                                                25    Q. You testified you relied on Dr. Afnan's
                                                 Page 175                                                    Page 177
    1     A. That's correct.                                 1 opinions on regulatory issues. In essence you
    2     Q. You mentioned your CV, that there was           2 would just be able to tell us, based on the reading
    3 something relevant within, I think, either the         3 the report, what his opinions were; correct?
    4 patents or publications you said with regard to        4        MS. ROSE: Object to form.
    5 general organic chemistry and the use of DMF. Are      5        THE WITNESS: Yeah. I mean, I viewed him
    6 your specific -- any of these specific patents or      6 as a gu -- a regulatory guru. I could see what he
    7 publications specific to the use of DMF?               7 was saying. I could tell there was a lot of depth
    8     A. No. Those -- they -- they would include         8 behind what he was saying. I relied on it as I
    9 syntheses that used DMF as a solvent, but they         9 would if I was talking to somebody at the FDA.
   10 don't specifically zero in on studies of DMF          10 Super qualified guy.
   11 itself. Just --                                       11 BY MR. SLATER:
   12     Q. Does it talk about the use of the DMF as       12     Q. What did you specifically rely on him
   13 a solvent in any considerations of potential          13 for?
   14 impurities and issues like that? Does that            14     A. So there was in -- in Ramin and Hecht's
   15 actually discuss that at issue which we have in       15 deposition testimony, there was numerous references
   16 this case?                                            16 to failure to do proper risk evaluation, GMP
   17     A. No, it just lists DMF as a solvent, not        17 violations, you know, didn't -- didn't do this
   18 the -- there was no discussion in any of my work      18 GM -- all this guidance, Q3, M7, Q9, Q10. There
   19 about the impurities of DMF.                          19 was a lot of references to regular -- FDA
   20     Q. And there's no discussion of                   20 regulatory documents and how ZHP failed to follow
   21 dimethylamine as a potential impurity of DMF;         21 any of it. And I thought Afnan systematically
   22 right?                                                22 debunked every one of those assertions in their
   23     A. That's right.                                  23 testimony.
   24     Q. And there's no discussion of degradation       24     Q. Those are areas that you've already told
   25 of DMF to form dimethylamine; correct?                25 us you're not an expert on and you're not going to

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                                                     Page 178                                                   Page 180
    1 testify on; correct?                                       1 correct?
    2     A. That's right. But I relied on him, and              2        MS. ROSE: Object to the form.
    3 he was debunking it, every one.                            3        THE WITNESS: Yeah, and I'm basing my
    4     Q. You mentioned that the certificates of              4 opinion on the actual number. So the -- the half
    5 analysis would not have placed ZHP on notice that          5 spec, this is the level it cannot exceed, which is
    6 the DMF would introduce dimethylamine. I wrote it          6 a low number to begin with. The few COAs that I
    7 down carefully. That's what you said. Do you               7 saw were way lower than that. So that's what I
    8 recall that?                                               8 based my opinion that this is not a problem on.
    9     A. Yes.                                                9 This would not alert them to a problem is the
   10     Q. And you stand by what you told me when I           10 numbers I actually saw on the supplied material.
   11 questioned you that ZHP was certainly on notice of        11 That's what I --
   12 the potential that the DMF it was using could             12 BY MR. SLATER:
   13 potentially introduce dimethylamine to the process?       13     Q. In terms of what -- what that information
   14 You still stand behind that testimony; correct?           14 should have triggered in terms of a risk
   15        MS. ROSE: Object to the form.                      15 assessment, you've already told us that's not your
   16        THE WITNESS: I think low-level people              16 expertise. You're not opining on that; right?
   17 filing documents saw a line about alkalinity,             17     A. Yeah, formal risk assessment I'm
   18 calculated it as dimethylamine. But I don't think         18 not -- I'm not an expert on formal risk assessment.
   19 that ever put anybody on notice. Those words did          19     Q. And you didn't evaluate the risk
   20 not put anybody on notice that dimethylamine could        20 assessment by ZHP? It's not something you talked
   21 be introduced to the process.                             21 about in your report; right?
   22           And as I said before, the numbers               22     A. All I did was I read through the risk
   23 were so low. They bought the best stuff, the              23 assessment that was in the deviation investigation
   24 highest quality. The numbers were so low,                 24 report.
   25 everybody would say this is not a problem. Let's          25     Q. After the fact.
                                                     Page 179                                                   Page 181
    1 move on. So I --                                           1        MS. ROSE: Object to the form.
    2 BY MR. SLATER:                                             2 BY MR. SLATER:
    3     Q. I didn't --                                         3     Q. The deviation investigation report from
    4     A. -- I don't agree that it would put them             4 after the fact.
    5 on notice. It would put them on relax.                     5     A. Yeah, after the fact. I read the
    6     Q. You didn't do any review of any of ZHP's            6 deviation investigation after the fact. And the
    7 own internal testing of that DMF; correct?                 7 risk assessments all started with this is the
    8     A. That's right, I did not.                            8 problem and worked their way back. They
    9     Q. You don't know what the actual numbers              9 never -- there was nothing in any risk assessments
   10 were in terms of how much dimethylamine might have        10 I saw that would allow you to forwardly identify an
   11 actually been in that DMF because you haven't seen        11 unknown.
   12 any documents of that testing; right?                     12          It was always this is the problem we
   13     A. I haven't.                                         13 have in our process. Where did this happen in
   14        MS. ROSE: Object to form.                          14 our -- in our company. It was going backwards. So
   15        THE WITNESS: Yeah, I don't know what               15 it reinforced my opinion that there was no risk
   16 testing ZHP did. I know at J-STAR there would have        16 assessment capable of letting them identify this
   17 been a lot of numbers on a COA, but we didn't do          17 problem.
   18 all -- we didn't repeat all those tests at J-STAR         18 BY MR. SLATER:
   19 to prove our materials. We would only do a few.           19     Q. In terms of the standards that were
   20 So I don't know what they did at ZHP.                     20 applicable to ZHP in performing its risk assessment
   21 BY MR. SLATER:                                            21 from the beginning of the development of the
   22     Q. In terms of your opinions about the                22 process, you already told me that's not something
   23 significance of the certificates of analysis,             23 you opined on. It's not within your expertise;
   24 you're basing your opinions on what you did in your       24 correct?
   25 own work, in your own practice, at your own lab;          25     A. Yes, that's true.

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    1       MR. SLATER: I don't have any other
    2 questions.
    3       THE WITNESS: Great.
    4       MS. ROSE: Okay. I don't have any
    5 questions either. Thank you very much, Doctor, for
    6 your time today.
    7       THE WITNESS: Are you going for steak
    8 dinner, Adam? Where are you going?
    9       THE VIDEOGRAPHER: One moment. The time
   10 is now 3:58 p.m. This concludes today's testimony
   11 from Dr. Andrew Thompson. We're now off the
   12 record.
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    1     STATE OF WISCONSIN )
                        ) ss.
    2     COUNTY OF MILWAUKEE )
    3        I, ANITA KORNBURGER, Registered
    4     Professional Reporter, do hereby certify that
    5     the preceding deposition was recorded by me and
    6     reduced to writing under my personal direction.
    7        I further certify that said deposition was
    8     taken remotely, with all parties appearing by
    9     videoconference, on May 9, 2025, commencing at
   10     9:43 a.m. and concluding at 3:58 p.m.
   11        I further certify that I am not a relative
   12     or employee or attorney or counsel of any of
   13     the parties, or a relative or employee of such
   14     attorney or counsel, or financially interested
   15     directly or indirectly in this action.
   16        In witness whereof, I have hereunto set my
   17     hand and affixed my seal of office at
   18     Milwaukee, Wisconsin, this 13th day of May,
   19     2025.
   20
   21
          <%2051,Signature%>
   22     __________________________________
          ANITA KORNBURGER, RPR
   23
          NJ CCR #30X100244300
   24
        My certification expires June 30, 2026.
   25

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                     Federal Rules of Civil Procedure

                                     Rule 30



        (e) Review By the Witness; Changes.

        (1) Review; Statement of Changes. On request by the

        deponent or a party before the deposition is

        completed, the deponent must be allowed 30 days

        after being notified by the officer that the

        transcript or recording is available in which:

        (A) to review the transcript or recording; and

        (B) if there are changes in form or substance, to

        sign a statement listing the changes and the

        reasons for making them.

        (2) Changes Indicated in the Officer's Certificate.

        The officer must note in the certificate prescribed

        by Rule 30(f)(1) whether a review was requested

        and, if so, must attach any changes the deponent

        makes during the 30-day period.




        DISCLAIMER:     THE FOREGOING FEDERAL PROCEDURE RULES

        ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

        THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

        2019.    PLEASE REFER TO THE APPLICABLE FEDERAL RULES

        OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
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          COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

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     transcript of the colloquies, questions and answers

     as submitted by the court reporter. Veritext Legal

     Solutions further represents that the attached

     exhibits, if any, are true, correct and complete

     documents as submitted by the court reporter and/or

     attorneys in relation to this deposition and that

     the documents were processed in accordance with

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